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                          PLAN EXHIBIT 1




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                                                                  Execution Version




                    PURCHASE AND SALE AGREEMENT

                                 by and among
               UNIVERSITY GENERAL HEALTH SYSTEM, INC.,
                      UGHS AUTIMIS BILLING, INC.,
                      UGHS AUTIMIS CODING, INC.,
                        UGHS ER SERVICES, INC.,
                         UGHS HOSPITALS, INC.,
                  UGHS MANAGEMENT SERVICES, INC.,
                     UGHS SUPPORT SERVICES, INC.,
                  UNIVERSITY HOSPITAL SYSTEMS, LLP,
                                 AND
                   UNIVERSITY GENERAL HOSPITAL, LP

                            (collectively “Debtors”)

                                      and

             FOUNDATION SURGICAL HOSPITAL HOLDINGS, LLC

                                   (“Buyer”)

                                     dated
                               November 6, 2015




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  THIS AGREEMENT IS SUBJECT TO REVIEW AND APPROVAL BY THE UNITED
   STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF TEXAS
            AFTER NOTICE AND OPPORTUNITY FOR HEARING

                           PURCHASE AND SALE AGREEMENT

         This PURCHASE AND SALE AGREEMENT (this “Agreement”) is dated as of
November 6, 2015, by and among Foundation Surgical Hospital Holdings, LLC, a Nevada
limited liability company, or an Affiliate to which this Agreement is assigned in accordance
with its terms (“Buyer”), and University General Health System, Inc., a Nevada corporation
(“Seller Parent”), UGHS Autimis Billing, Inc., a Texas corporation, UGHS Autimis Coding,
Inc., a Texas corporation, UGHS ER Services, Inc., a Texas corporation, UGHS Hospitals, Inc.,
a Texas corporation, UGHS Management Services, Inc., a Texas corporation, UGHS Support
Services, Inc., a Texas corporation, University Hospital Systems, LLP, a Delaware limited
liability partnership, and University General Hospital, LP, a Texas limited partnership (“Hospital
LP”) (singly, “Debtor” and collectively, “Debtors”). Buyer and Debtors are sometimes referred
to collectively herein as the “Parties” and singly as a “Party.”

                                           RECITALS

        A.     On February 27, 2015 (the “Petition Date”), the Debtors each filed voluntary
petitions under Chapter 11 of the Bankruptcy Code (as defined below) in the United States
Bankruptcy Court for the Southern District of Texas, Houston Division, which cases are being
jointly administered under Case No. 15-31086 (the “Bankruptcy Cases”);

        B.      UGHS Hospitals, Inc., a Texas corporation (“UGHS Hospitals”), owns 99.999%
of the limited partnership interests of Hospital LP, representing all of the limited partner interest
in the Hospital LP (the “LP Interests”), and University Hospital Systems LLP, a Delaware
limited liability partnership (“UHS LLP” and, together with UGHS Hospitals, the “Equity
Sellers”), owns 0.001% of the general partnership interests of the Hospital LP, representing all of
the general partner interest in Hospital LP (the “GP Interests”);

       C.    Collectively, the Equity Sellers own 100% of the partnership interests of Hospital
LP (the “Company Interests”);

        D.      The Debtors directly and indirectly through the Hospital LP are or were engaged
in the business of (i) providing facilities, equipment and services at the acute care hospital (the
“Hospital”) with its main facility located at 7501 Fannin Street, Houston, Texas (the “Hospital
Facility”) and the additional locations listed on Exhibit A that furnish healthcare items and
services to patients of the Hospital (together with the Hospital Facility, each a “Facility” and
collectively, the “Facilities”), and (ii) operating clinics, ambulatory surgical centers,
laboratories, pharmacies and other medical and health care facilities in connection therewith (the
“Business”) and have continued in the possession of their assets and management of their
Business pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code;

       E.     On the terms and conditions of this Agreement, and as authorized under
Sections 363 and 365 of the Bankruptcy Code, the Debtors desire to sell to Buyer, and the Buyer

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desires to purchase from Debtors, the Company Interests and substantially all of the assets of the
Debtors used in the Business; and

        F.     Debtors propose to obtain the approval of the Bankruptcy Court of this
Agreement and the transactions contemplated hereunder in connection with the confirmation of a
plan of reorganization in the Bankruptcy Cases and the entry of a Confirmation Order (as defined
below) confirming such plan.

        NOW, THEREFORE, in consideration of the mutual promises, representations and
warranties made herein and other good and valuable consideration, the receipt and sufficiency of
which are hereby mutually acknowledged, the Parties hereto, intending to be legally bound, and
subject only to the required approvals of the Bankruptcy Court agree as follows:

                                           ARTICLE 1

                     DEFINITIONS AND INTERPRETIVE MATTERS

    Section 1.01       Definitions.

        The following terms, as used herein, have the following meanings:

       “365 Contracts” means all Contracts that may be assumed by the Debtors pursuant to
Section 365 of the Bankruptcy Code.

       “Accounts Receivable” means, as of the Effective Time, all accounts receivable, trade
receivables, notes receivables and all other receivables, whether accrued, current or overdue, of
Debtors, in each case other than those that are expressly designated as Retained Assets.

        “Affiliate” means, with respect to any Person, any other Person directly or indirectly
controlling, controlled by, or under common control with such other Person. For such purposes,
the term “control” means the possession, direct or indirect, of the power to direct or cause the
direction of the management and policies of a Person, whether through the ownership of voting
securities, by contract or otherwise.

        “Agreement” has the meaning set forth in the opening paragraph hereof.

        “Alternative Proposal” means any inquiry, offer, proposal or plan (whether or not in
writing) (other than an offer or proposal by or on behalf of Buyer or any of its Affiliates) for, or
any indication of interest in, or any transaction involving: (i) any merger, consolidation, share
exchange, recapitalization, business combination or similar transaction involving any of the
Debtors that own, individually or in the aggregate, a material portion of the Assets of the Debtors
that would constitute Transferred Assets if such Assets were held by Debtors at the Effective
Time, (ii) any sale, lease, exchange, mortgage, transfer or other disposition, in a single
transaction or series of related transactions, of Assets representing a material portion of the
Transferred Assets outside the Ordinary Course of Business, (iii) any sale of equity interests
representing, individually or in the aggregate, a majority of the voting power of any of the
Debtors that, individually or in the aggregate, own a material portion of the Assets of the Debtors
that would constitute Transferred Assets if such Assets were held by Debtors at the Effective

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Time, (iv) a Restructuring Transaction, or (v) a stand alone plan of reorganization(s) filed by any
of Debtors that, individually or in the aggregate, own a material portion of the Assets of the
Debtors that would constitute Transferred Assets if such Assets were held by Debtors at the
Effective Time and that is inconsistent with this Agreement, or (vi) any combination of the
foregoing. The Parties agree and acknowledge that, notwithstanding anything in the previous
sentence, none of the transactions or actions relating solely to the Retained Assets or a
transaction consummated by a Chapter 7 trustee if the Bankruptcy Court has converted the
Bankruptcy Cases to Chapter 7 shall be deemed to be an Alternative Proposal.

        “Applicable Law” means, with respect to any Person, any federal, state or local law
(statutory, common or otherwise), constitution, ordinance, code, rule, regulation, order,
injunction or judgment adopted or promulgated by a Governmental Authority that is binding
upon or applicable to such Person, as amended unless expressly specified otherwise.

        “Assets” means all assets, properties and rights (including all rights and benefits under
Contracts) of every nature, kind, description, tangible and intangible, whether real, personal or
mixed, whether accrued, contingent or otherwise, whether now existing or hereinafter acquired,
wherever located, and whether or not recorded or reflected, or required to be recorded or
reflected, on a balance sheet or the books and records of any Person, and all right, title, interest
and claims therein and thereto.

        “Avoidance Actions” is defined in Section 2.02(i).

        “Bankruptcy Cases” has the meaning set forth in the Recitals hereto.

        “Bankruptcy Code” means Title 11 of the United States Code, as amended.

       “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
of Texas or any other court having jurisdiction over the Bankruptcy Cases from time to time.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, the Official
Bankruptcy Forms, the Federal Rules of Civil Procedure, the Local Rules of the United States
District Court for the Southern District of Texas and the Local Rules of the United States
Bankruptcy Court for the Southern District of Texas, each as now in effect or as hereafter
amended, to the extent applicable to the Bankruptcy Cases or proceedings therein, as the case
may be.

      “Bidding Procedures Order” means the order of the Bankruptcy Court entered as
Document 596-1 on October 6, 2015.

       “Breakup Fee” means cash or other immediately available funds in an amount equal to
3% of the Purchase Price less the Expense Reimbursement.

        “Budget” is defined in Section 3.10.

        “Business” has the meaning set forth in the Recitals hereto.



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       “Business Day” means any day, excluding Saturdays, Sundays or “legal holidays” (as
referenced in Bankruptcy Rule 9006(a)), on which nationally chartered commercial banks are
open for business in Houston, Texas.

        “Buyer” has the meaning set forth in the opening paragraph of this Agreement.

        “Buyer Disclosure Statement Information” is defined in Section 6.01.

       “Buyer Material Adverse Effect” means a material adverse effect on the ability of Buyer
to consummate the Transactions or to perform its obligations hereunder and under the other
Transaction Documents to which it is or will be a Party.

       “Cash Deposits” means the total amount of any cash and negotiable instruments of the
Debtors that constitute deposits securing any performance bonds, surety bonds, letters of credit,
guarantees, utility deposits, security deposits or similar assurances outstanding as of the Closing
Date.

        “CERCLA” means the Comprehensive Environmental Response, Compensation and
Liability Act of 1980, as amended, and any rules or regulations promulgated thereunder.

        “Chosen Courts” is defined in Section 10.07.

        “CHOW” is defined in Section 7.01(b).

        “Claim” means a claim as defined in Section 101(5) of the Bankruptcy Code.

        “Closing” is defined in Section 2.08(a).

        “Closing Date” means the date of the Closing.

        “CMS” is defined in Section 7.01(b).

       “CMS Payment Amount” means the amount of fines, expenses or other amounts payable
to CMS in connection with the resolution of the matters self-reported by Debtors to CMS
pursuant to Section 2.13.

      “COBRA” means the Consolidated Omnibus Budget Reconciliation Act of 1985, as
amended.

        “Code” means the United States Internal Revenue Code of 1986, as amended.

        “Company Interests” is defined in Recital C.

        “Confidentiality Agreement” is defined in Section 7.06.

        “Confirmation Hearing” means the hearing or hearings before the Bankruptcy Court at
which the Bankruptcy Court will consider the Confirmation of the Plan pursuant to Section 1129
of the Bankruptcy Code and will approve the Transactions, as such hearings may be adjourned or
continued from time to time; provided, however, that if, at the option Buyer, the Transactions are

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approved by the Bankruptcy Court in the Sale Order, than the term “Confirmation Hearing” shall
mean the hearing or hearings before the Bankruptcy Court to approve the Transactions, as such
hearings may be adjourned or continued from time to time.

       “Confirmation Order” means an order of the Bankruptcy Court in form and substance
reasonably satisfactory to Buyer and Debtors confirming the Plan pursuant to Section 1129 of the
Bankruptcy Code and approving this Agreement and the Transaction Documents; provided,
however, that if, at the option of the Buyer, the Transactions are approved by the Bankruptcy
Court in the Sale Order, then the term “Confirmation Order” shall be deemed to include the Sale
Order.

       “Contract” means any contract, agreement, lease, indenture, note, bond, sale and
purchase order, instrument or other commitment, whether oral or written (including any
amendments or modifications thereto).

       “Cost Reports” means all cost reports related to any of the Facilities filed pursuant to the
requirements of any applicable Government Reimbursement Programs for cost-based payments
or reimbursement due to or claimed by any Debtor or Facility from any applicable Government
Reimbursement Programs or their fiscal intermediaries or payor agents, including all Cost Report
receivables or payables and all related appeals and appeal rights.

        “Cure Costs” means the amount necessary to cure defaults under any Desired 365
Contract and to compensate the non-debtor party for any actual pecuniary loss resulting from
such defaults in order to assume and assign the Desired 365 Contract under Sections 365(a) and
365(f) of the Bankruptcy Code.

      “Debtor” or “Debtors” has the meaning set forth in the opening paragraph of this
Agreement.

        “Debtors Material Adverse Effect” means a material adverse effect on (i) the condition
(financial or otherwise), business, properties, assets, or results of operations of the Business, (ii)
the ability of the Debtors to conduct the Business, in the Ordinary Course of Business, or (iii) the
ability of Debtors to perform their obligations under the Transaction Documents in material
compliance with the requirements thereof or consummate the Transactions; provided, however,
that any such material adverse effect that results from any of the following matters shall not be
taken into account in determining whether a material adverse effect has occurred under this
definition: (A) changes in financial or securities markets generally, (B) changes in general
economic conditions in the United States, (C) matters identified as having a Debtors Material
Adverse Effect in the Schedules to this Agreement, provided such identification is made at the
time this Agreement is executed (D) the pendency of the Bankruptcy Cases, (E) the
announcement, pendency or consummation of the sale of the Transferred Assets, (F) the inability
to pay administrative expenses in the Bankruptcy Cases, or (G) actions taken or omissions made
after the date of this Agreement with the express written consent of Buyer.

       “Debtors’ Knowledge” means the actual knowledge of any of the following individuals:
Hassan Chahadeh, Ed Laborde, Kris Trent and Harmonee Vice; provided that such individuals
will be deemed to have actual knowledge of a particular matter if such individual reasonably


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should have known of such matter after reasonable inquiry with such individual’s direct reports
with responsibility for the particular matter.

        “Desired 365 Contracts” is defined in Section 5.04(a).

        “DIP Facility” means the Debtor in Possession Credit and Security Agreement, dated as
of March 5, 2015, by and among Debtors, as borrowers, MidCap Financial Trust, a Delaware
statutory Trust (“MidCap”), as agent and a lender, and the other lenders from time to time parties
thereto, approved by the Bankruptcy Court on or about July 13, 2015, as amended by
Amendment No. 1 to Debtor in Possession Credit and Security Agreement, dated July 14, 2015,
and Amendment No. 2 to Debtor in Possession Credit and Security Agreement, dated August 31,
2015, and as may be further amended, modified or supplemented from time to time.

        “Effective Time” means 12:01 a.m. local time in Houston, Texas on the day after the
Closing Date.

        “End Date” is defined in Section 9.01(b).

       “Environmental Laws” means any Applicable Law or any agreement with any
Governmental Authority to which any Debtor is a party relating to human health and safety, the
environment or to pollutants, contaminants, wastes, chemicals, or toxic or other hazardous
substances.

        “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

      “ERISA Affiliate” of any entity means any other entity which, together with such entity,
would be treated as a single employer under Section 414 of the Internal Revenue Code.

        “ERISA Plan” means any (i) “employee benefit plans” (as defined in Section 3(3) of
ERISA) and any bonus, stock option, stock purchase, restricted stock, equity based, incentive,
deferred compensation, retiree medical or life insurance, supplemental retirement, severance,
change in control or other benefit plans, programs or arrangements, and all employment,
termination, severance or other contracts or agreements, to which the Debtors, or any of their
ERISA Affiliates is a party, with respect to which the Debtors, or any of their ERISA Affiliates
has any obligation to or which are maintained, contributed to or sponsored by the Debtors or any
of their ERISA Affiliates for the benefit of, any current or former employee, officer or director of
the Debtors, (ii) employee benefit plan for which the Debtors could incur liability under Section
4069 of ERISA in the event such plan has been or were to be terminated and (iii) plan in respect
of which the Debtors could incur liability under Section 4212(c) of ERISA.

         “Escrow Agent” means Wells Fargo Bank, National Association, or such other financial
institution reasonably acceptable to Buyer and Debtors.

        “Escrow Agreement” is defined in Section 2.11(a).

        “Escrow Amount” is defined in Section 2.11(a).

        “Excluded Contracts and Leases” is defined in Section 2.02(k).

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       “Expense Reimbursement” means cash or other immediately available funds in an
amount equal to the reasonable and actual aggregate out-of-pocket costs and expenses incurred
by Buyer in connection with or relating to (a) the negotiation and drafting of this Agreement,
(b) Buyer’s due diligence investigation regarding the Transferred Assets and the Business, (c) the
Bankruptcy Cases, and (d) the proposed acquisition by the Buyer of the Transferred Assets,
including all reasonable fees and expenses of counsel, accountants, consultants and other
advisers and professionals; provided, however, that the combined sum of the Expense
Reimbursement and the Breakup Fee, if any, shall not exceed three percent (3%) of the Purchase
Price.

        “Final Order” means an order or judgment of the Bankruptcy Court, or other court of
competent jurisdiction with respect to the subject matter, (i) which has not been reversed, stayed,
modified, amended, enjoined, set aside, annulled or suspended, (ii) with respect to which no
request for a stay, motion or application for reconsideration or rehearing, notice of appeal or
petition for certiorari is filed within the deadline provided by applicable statute or regulation or
as to which any appeal that has been taken or any petition for certiorari that has been or may be
filed has been resolved by the highest court to which the order or judgment was appealed or from
which certiorari was sought, and (iii) as to which the deadlines for filing such request, motion,
petition, application, appeal or notice referred to in clause (ii) above have expired.

       “GAAP” means generally accepted accounting principles in the United States as applied
by the Debtors in preparation of the Budget.

        “Governmental Authority” means any trans-national, domestic or foreign federal, state or
local, governmental unit, authority, department, court, agency or official, including any political
subdivision thereof.

        “Governmental Payors” means Medicare and Medicaid.

       “Government Reimbursement Programs” means the Medicare Program, the Medicaid
Program, the federal TriCare program, and any other, similar or successor federal, state or local
health care payment programs with or sponsored or funded in whole or in part by any
Governmental Authority.

       “Hazardous Materials” means chemicals, pollutants, radioactive material, contaminants,
wastes, toxic or hazardous substances, materials or wastes, petroleum and petroleum products,
asbestos or asbestos-containing materials or products, polychlorinated biphenyls, lead or lead-
based paints or materials, radon, fungus, mold, mycotoxins, nanoparticles or other substances
that may have an adverse effect on human health or the environment.

       “Healthcare Requirements” means the requirements of or with respect to Government
Reimbursement Programs, Referral Laws, Patient Privacy Requirements, the False Claims Act,
31, U.S.C. Section 3729 et seq., as amended, and 42 U.S.C. Section 1320a-7k(d), 42 U.S.C.
1320a-7a(a), and the requirements for accreditation by The Joint Commission and/or HFAP, as
applicable.

        “HFAP” is defined in Section 3.14(c).


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        “Hospital” is defined in the Recitals.

        “Hospital Facility” is defined in the Recitals.

        “Intellectual Property Rights” means (i) inventions, reduced to practice or made the
subject of one or more pending patent applications, (ii) patents and patent applications (including
all reissues, divisions, continuations, continuations-in-part, extensions and reexaminations
thereof) registered or applied for throughout the world, all improvements to the inventions
disclosed in each such registration, patent or patent application, (iii) trademarks, service marks,
trade dress, logos, domain names, trade names and corporate names (whether or not
registered) in all nations throughout the world and all goodwill associated therewith,
(iv) copyrights (whether or not registered) and registrations and applications for registration
thereof in all nations throughout the world, (v) proprietary computer software, (including source
code, object code, firmware, operating systems and specifications), (vi) trade secrets and know-
how (including manufacturing and production processes and techniques and research and
development information), (vii) databases and data collections, in each case solely to the extent
related to seismic and geological data, (viii) copies and tangible embodiments of any of the
foregoing, in whatever form, format or medium, (ix) all rights to obtain and rights to apply for
patents, and to register trademarks and copyrights, (x) all rights in all of the foregoing provided
by treaties, conventions and common law, and (xi) all rights to sue or recover and retain damages
and costs and attorneys’ fees for past, present and future infringement or misappropriation of any
of the foregoing.

       “Interest” means any right, title, interest, ownership, indicia of title or ownership, right of
possession, or other legal, equitable or possessory interest of any kind.

       “Intercompany Indebtedness” means all Liabilities owed by any Debtor to any other
Debtor or to any Affiliate of any Debtor or by an Affiliate of a Debtor to a Debtor, including the
Senior Living Receivable.

       “Inventory” means all inventories of supplies, drugs, food, janitorial and office supplies
and other disposables and consumables owned by the Debtors located at or within any Facility,
and any other goods held for sale or lease or furnished under contracts of service, raw materials,
supplies and work in process owned by the Debtors and related to the Business wherever located,
whether or not in transit.

       “Liabilities” means any direct or indirect liability, indebtedness, obligation, commitment,
expense, claim, deficiency, guaranty or endorsement of or by any Person of any kind or nature,
whether accrued or not accrued, absolute or contingent, matured or unmatured, liquidated or
unliquidated, known or unknown, asserted or not asserted, determined, determinable or
otherwise.

       “Licensed Intellectual Property Rights” means all Intellectual Property Rights owned by
a Third Party and licensed or sublicensed to the Debtors.

        “Licenses” means all federal, state and local government authorizations, certificates of
authority, certificates of need, provider agreements and licenses.


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        “Lien” means, with respect to any property or asset, any mortgage, lien, interest pledge,
security interest, mechanics’ lien, materialman’s lien, statutory lien or right, whenever granted
and including any “lien” as under Bankruptcy Code Section 101(37).

      “Medicare Provider Agreement” means Hospital Medicare Provider and Supplier for
Medicare Part A and Part B Agreement(s) listed on Schedule 1.01-A.

      “Multiemployer Plan” means a multiemployer plan as defined in Section 414(f) of the
Code or Section 3(37) or 4001(a)(3) of ERISA.

       “Multiple Employer Plan” means a multiple employer plan within the meaning of
Section 413(c) of the Code or Section 4063, 4064 or 4066 of ERISA, which is not a
Multiemployer Plan.

        “Non-Foreign Affidavit” is defined in Section 2.08(b)(vii).

        “Non-Transferable Assets” is defined in Section 5.04(d).

        “Ordinary Course of Business” means the ordinary course of business of the Debtors,
consistent in all material respects with the past custom and practice of the Debtors during the
period beginning on the Petition Date and ending the date hereof; provided, however, that
compliance with the Bankruptcy Code and Bankruptcy Rules or orders of the Bankruptcy Court
by Debtors during the pendency of the Bankruptcy Cases shall not constitute a departure from
the Ordinary Course of Business.

        “Organizational Documents” means, with respect to any Person, the certificate or
articles of incorporation, bylaws, certificate of formation or organization, partnership agreement,
limited partnership agreement, operating agreement, limited liability company agreement or any
other similar organizational documents of such Person.

       “Owned Intellectual Property Rights” means all Intellectual Property Rights owned by
the Debtors.

      “Party” or “Parties” has the meaning set forth in the opening paragraph of this
Agreement.

       “Patient Privacy Requirements” means the applicable requirements of the
Administrative Simplification Provisions of the Health Insurance Portability and Accountability
Act of 1996 as amended by the American Recovery and Reinvestment Act of 2009 and the
implementing regulations thereunder governing the privacy of individually identifiable health
information and the security of such information maintained in electronic form, or of any similar
law of Texas.

       “Payroll Tax Liability Amount” means the amount payable to the IRS for the full
payment and discharge of all liability of the Pre-Petition Federal Payroll Tax Liabilities,
including all liability of Debtors, and Debtors’ or their Affiliates’ officers, directors and
managers.


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       “Permits” means all material governmental (whether federal, state or local) permits,
Licenses, franchises, certificates, approvals or other similar authorizations.

        “Permitted Post-Closing Liens” means (i) Liens on any Transferred Asset for utilities
and Taxes not yet due and payable, (ii) Liens granted or reserved in Contracts that are Desired
365 Contracts, and (iii) with respect to the Company Interests, Liens arising under applicable
state and federal securities laws, in the case of each of (i), (ii) and (iii) above, solely with respect
to obligations that arise in and are attributable only to periods after the Closing.

        “Person” means any person, entity or Governmental Authority of any nature whatsoever,
specifically including an individual, firm, company, corporation, partnership, trust, joint venture,
association, joint stock company, limited liability company, estate, unincorporated organization
or other entity or organization.

        “Petition Date” has the meaning set forth in the Recitals hereto.

       “Physician” means any licensed doctor of medicine or osteopathy, doctor of dental
surgery or dental medicine, doctor of podiatric medicine, doctor of optometry, or chiropractor, or
any group, partnership, corporation, association or other entity of whatever form, that is owned
by one or more Physicians.

        “Physician Owner” means a Physician (or immediate family member of the Physician)
who has or had a direct or indirect ownership or investment interest in the Hospital or in an entity
whose assets include the Hospital Facility. An “immediate family member” means husband or
wife; birth or adoptive parent, child or sibling; stepparent, stepchild, stepbrother or stepsister;
father-in-law, mother-in-law, son-in-law, daughter-in-law, brother-in-law, or sister-in-law;
grandparent or grandchild; and spouse of a grandparent or grandchild. An “ownership or
investment interest” is an ownership or investment interest as defined in 42 CFR §411.354.

       “Plan” means a plan of reorganization to be proposed by the Debtors in the Bankruptcy
Cases, as the same may be modified or amended from time-to-time, and providing for, among
other matters, the approval of this Agreement, the other Transaction Documents and the
Transactions.

        “Post-Petition Accounts Payable” means (i) all accounts payable of the Debtors arising
after the Petition Date in the Ordinary Course of Business that are not more than 40 days
outstanding, but excluding amounts due under the DIP Facility and (ii) the unpaid wages, salaries
and employer’s and employee’s Tax withholding obligations for Transferred Employees that are
accrued and unpaid in the Ordinary Course of Business as of the Closing Date for the last period
prior to the Closing which payroll obligations become due following the Closing.

         “Pre-Petition Federal Payroll Tax Liabilities” means the unpaid FICA and FUTA
liabilities of Debtors to the IRS relating to periods prior to the Petition Date that constitute
priority claims under Section 507 of the Bankruptcy Code, including all interest and penalties
thereon, in an aggregate amount not more than $7,900,000.




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         “Proceeding” means any action, claim, demand, audit, hearing, complaint, investigation,
litigation, or suit commenced, brought, conducted, or heard by or before any Governmental
Authority.

        “Purchase Price” is defined in Section 2.07.

        “Purchase Price Allocation” is defined in Section 2.09.

       “Referral Laws” means Section 1128B(b) of the Social Security Act, as amended, 42
U.S.C. Section 1320a-7(b) (Criminal Penalties Involving Medicare or State Health Care
Programs), commonly referred to as the “Federal Anti-Kickback Statute,” and Section 1877 of
the Social Security Act, as amended, 42 U.S.C. Section 1395nn and related regulations
(Prohibition Against Certain Referrals), commonly referred to as “Stark Law”, and 42 U.S.C.
Section 1320a-7a(a)(5), and any other similar Texas laws.

       “Regulatory Approvals” means, to the extent necessary in connection with the
consummation of the transactions contemplated by this Agreement, any and all certificates,
permits, Licenses, franchises, concessions, grants, consents, approvals, orders, registrations,
authorizations, waivers, variances or clearances from, or filings or registrations with,
Governmental Authorities.

       “Representatives” means, with respect to any Person, the officers, directors, employees,
members, managers, partners, investment bankers, attorneys, accountants, consultants or other
advisors, agents or representatives of such Person, when acting in such capacity on behalf of
such Person.

        “Restructuring Transactions” means a dissolution or winding up of the corporate
existence of a Debtor or the consolidation, merger, restructuring, conversion, dissolution,
transfer, liquidation, contribution of assets, or other transaction pursuant to which a reorganized
Debtor merges with or transfers substantially all of its Assets and Liabilities to a reorganized
Debtor or newly formed entity; provided, however, that a Restructuring Transaction shall not be
deemed to occur if such Debtor or Debtors do not own, individually or in the aggregate, a
material portion of the Assets of the Debtors that would constitute Transferred Assets if such
Assets were held by the Debtors at the Effective Time.

        “Retained Assets” is defined in Section 2.02.

        “Retained Liabilities” is defined in Section 2.04.

        “Sale Order” is defined in Section 8.01(b); provided, however, that if the Transactions
are approved by the Bankruptcy Court in the Confirmation Order, then the term “Sale Order”
shall be deemed to include the Confirmation Order.

       “Senior Living Receivable” means the Liabilities owed to any Debtor by any of the
following Affiliates of the Debtors: (i) UGHS Senior Living of Pearland, LLC; (ii) UGHS Senior
Living of Port Lavaca, LLC; or (iii) UGHS Senior Living of Knoxville, LLC.

        “Specifically Assumed Liabilities” is defined in Section 2.03.

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        “Subsidiary” means, with respect to any Person, any entity of which securities or other
ownership interests having ordinary voting power to elect a majority of the board of directors or
other persons performing similar functions are at any time directly or indirectly owned by such
Person.

        “Tax” means (i) any tax, governmental fee or other like assessment or charge of any kind
whatsoever (including withholding on amounts paid to or by any Person), together with any
interest, penalty, addition to tax or additional amount imposed by any Governmental Authority (a
“Taxing Authority”) responsible for the imposition of any such tax (domestic or foreign), and
any liability for any of the foregoing as transferee, (ii) in the case of the Debtors, liability for the
payment of any amount of the type described in clause (i) as a result of being or having been
before the Closing Date a member of an affiliated, consolidated, combined or unitary group, or a
party to any agreement or arrangement, as a result of which liability of the Debtors to a Taxing
Authority is determined or taken into account with reference to the activities of any other Person,
and (iii) liability of the Debtors for the payment of any amount of the type described in (i) or
(ii) as a result of any existing express or implied agreement or arrangement (including an
indemnification agreement or arrangement).

       “Tax Asset” means any net operating loss, net capital loss, investment tax credit, foreign
tax credit, charitable deduction or any other credit or tax attribute that could be carried forward
or back to reduce Taxes (including deductions and credits related to alternative minimum Taxes).

       “Tax Refund” means any refund, credit, or offset of Taxes attributable to the assets,
operations or Business of the Debtors for periods prior to the Closing Date.

       “Tax Return” means any return, declaration, report, claim for refund, or information
return or statement relating to Taxes, including any Schedule or attachment thereto, and
including any amendment thereof.

       “The Joint Commission” means the accrediting and certification organization for
healthcare entities and programs.

        “Third Party” means any Person other than a Party or its Affiliates.

        “Transaction Documents” means this Agreement, the Escrow Agreement and any other
agreement between or among Buyer and the Debtors that expressly states that it constitutes a
Transaction Document for purposes of this Agreement, and all other agreements, documents and
instruments entered into by Buyer, on the one hand, and the Debtors, on the other hand, as of or
after the date hereof and at or prior to Closing in connection with the transactions contemplated
hereby, (as each such document, agreement and instrument may be amended, supplemented or
modified).

        “Transaction Taxes” is defined in Section 2.10.

       “Transactions” means the transactions contemplated by this Agreement and the other
Transaction Documents.

        “Transferred Assets” is defined in Section 2.01.

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       “Voting Classes” means the classes of holders of Claims against and interests in the
Debtors whose acceptance, individually or collectively, of the Plan is necessary to the
confirmation of the Plan by the Bankruptcy Court pursuant to Section 1129 of the Bankruptcy
Code.

        “WARN Act” means the Workers Adjustment & Retraining Notification Act or any
similar State law.

       “Withholding Taxes” means all applicable federal, state or local income taxes and
applicable employment (social security, unemployment insurance and Medicare) and other
withholding obligations, in each case withheld from employees of the Debtors prior to Closing.

       Section 1.02 Accounting Terms; Utilization of GAAP for Purposes of Calculations
Under Agreement. Except as otherwise expressly provided in this Agreement, all accounting
terms not otherwise defined herein shall have the meanings assigned to them in conformity with
GAAP. Calculations in connection with the definitions, covenants and other provisions of this
Agreement shall utilize GAAP, except as otherwise expressly set forth herein.

    Section 1.03         Other Definitional and Interpretative Provisions. The words “hereof”,
“herein” and “hereunder” and words of like import used in this Agreement shall refer to this
Agreement as a whole and not to any particular provision of this Agreement. The headings and
captions herein are included for convenience of reference only and shall be ignored in the
construction or interpretation hereof. References to Articles, Sections, Exhibits and Schedules
are to Articles, Sections, Exhibits and Schedules of this Agreement unless otherwise specified.
All Exhibits and Schedules annexed hereto or referred to herein are hereby incorporated in and
made a part of this Agreement as if set forth in full herein. Any capitalized terms used in any
Exhibit or Schedule but not otherwise defined therein and defined herein, have the meaning as
defined in this Agreement. Any singular term in this Agreement shall be deemed to include the
plural, and any plural term the singular. Whenever the words “include”, “includes” or
“including” are used in this Agreement, they shall be deemed to be followed by the words
“without limitation,” whether or not they are in fact followed by those words or words of like
import. “Writing,” “written” and comparable terms refer to printing, typing and other means of
reproducing words (including electronic media) in a visible form. References to any Person
include the successors and permitted assigns of that Person. References from or through any
date mean, unless otherwise specified, from and including or through and including, respectively.
References to “law,” “laws” or to a particular statute or law shall be deemed also to include any
and all Applicable Law. “Shall” and “will” have equal force and effect. The Parties and their
counsel have reviewed the provisions of this Agreement and have participated jointly in the
negotiation and drafting of this Agreement. In the event an ambiguity or question of intent or
interpretation arises, this Agreement shall be construed as if drafted jointly by the Parties and no
presumption or burden of proof shall arise favoring or disfavoring any Party by virtue of the
authorship of any of the provisions of this Agreement. All references to immediately available
funds or dollar amounts contained in this Agreement shall mean United States dollars. THE
PARTIES AGREE THAT THE BOLD AND/OR CAPITALIZED LETTERS IN THIS
AGREEMENT CONSTITUTE CONSPICUOUS LEGENDS.




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                                            ARTICLE 2

                                     PURCHASE AND SALE

    Section 2.01       Purchase and Sale of Assets.

                (a)     Subject to, and on the terms and conditions of this Agreement, effective at
the Effective Time, the Buyer shall purchase, acquire and accept from the Debtors, and the
Debtors shall sell, convey, transfer, assign and deliver to the Buyer, all of the Debtors’ right, title
and interest in and to all of the assets and properties of the Debtors used in the Business as of the
Effective Time, save and except for the Retained Assets (the “Transferred Assets”), including
the following:

                       (i)     the Company Interests;

                       (ii)    all Accounts Receivable;

                      (iii)   to the extent legally assignable, the Desired 365 Contracts and all
               of Debtors’ interest under the Desired 365 Contracts;

                      (iv)   except as and to the extent relating to any Retained Assets or
               Retained Liabilities and excluding all Avoidance Actions:

                              (A)    all rights, claims, rebates, discounts and credits,
                       performance and other bonds, including insurance claims relating to the
                       Transferred Assets to the extent not paid on or before the Closing Date,

                               (B)    advance payments and prepayments, prepaid rents and
                       other prepaid assets,

                               (C)    causes of action, rights of recovery, rights of setoff and
                       rights of recoupment in favor of Debtors, and

                              (D)     all rights in and under all express or implied guarantees,
                       warranties (including manufacturers’ warranties), representations,
                       covenants, indemnities and similar rights in favor of the Debtors;

                       (v)     all equipment (including medical equipment and instruments),
               furniture, furnishings, computer hardware, communication equipment, supplies,
               fixtures, leasehold interests, materials, Inventory and other tangible personal
               property of any kind or type that is owned by the Debtors, used in the Business
               and located at or within any Facility;

                     (vi)       to the extent legally assignable, the Medicare Provider
               Agreements;

                      (vii) to the extent legally assignable, all Owned Intellectual Property
               Rights and the goodwill associated therewith;

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                     (viii) to the extent legally assignable, all Licensed Intellectual Property
              Rights, to the extent transferable under the terms thereof or Applicable Law,
              including the Bankruptcy Code;

                      (ix)    all books and records of the Debtors, wherever located, relating to
              the Transferred Assets, including the following: sales records, books of account,
              invoices, inventory records, accounting records, Tax Returns with respect to the
              Transferred Assets, environmental records and studies, maintenance records, cost
              and pricing information, supplier lists, business plans, catalogues, quality control
              records and manuals, blueprints, research and development files, patent and
              trademark files; provided, however, that the Debtors shall retain a right to have a
              reasonable access to and copying of (including through its Representatives) the
              provisions within such materials related to Retained Assets or Retained
              Liabilities, the Debtors’ rights under the Transaction Documents or that are
              reasonably required with respect to any audit, investigation or inquiry of any
              Governmental Authority including Taxing Authorities with respect to periods
              prior to the Closing; provided further, however, that the Debtors and/or any
              Person authorized to act on behalf of the Debtors or their bankruptcy estates or to
              whom Retained Assets are transferred or assigned pursuant to a confirmed Plan,
              the Bankruptcy Code, or the Bankruptcy Rules (including without limitation a
              trustee, creditors’ committee, or liquidating trust (collectively, an “Authorized
              Person”)), shall have the right to access and copy any and all books and records of
              the Debtors as such Authorized Person, in its discretion, deems necessary to
              enable such Authorized Person to take any and all actions in connection with the
              Retained Assets as such Authorized Person is entitled and/or required to take
              under the Plan, the Bankruptcy Code, or the Bankruptcy Rules, including without
              limitation analyzing, evaluating, litigating, and compromising the Avoidance
              Actions, subject to any requirements or limitations imposed by the Health
              Insurance Portability and Accountability Act of 1996 and its implementing
              regulations and applicable state privacy and confidentiality laws;

                      (x)     the Organizational Documents of Hospital LP and its minute
              books, stock and ownership records and company seals and all other documents
              and records relating to the organization, maintenance, existence and federal
              income taxation of Hospital LP; provided, however, that the Debtors shall retain a
              right to have a reasonable access to and copying of (including through its
              Representatives) the provisions within such materials related to Retained Assets
              or Retained Liabilities, the Debtors’ rights under the Transaction Documents or
              that are reasonably required with respect to any audit, investigation or inquiry of
              any Governmental Authority including Taxing Authorities with respect to periods
              prior to the Closing; and

                      (xi)  to the extent legally assignable, all Licenses and Permits, relating
              to the ownership of the Transferred Assets or used in the conduct of the Business.

               (b)     Except for Specifically Assumed Liabilities and Permitted Post-Closing
Liens, all Transferred Assets and the Assets of Hospital LP shall be conveyed free and clear of

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all Liens, Claims, and Interests to the maximum extent allowed by Sections 363(f) and 1123 of
the Bankruptcy Code.

   Section 2.02     Retained Assets. Notwithstanding the foregoing, Buyer shall not acquire,
and the Debtors (other than Hospital LP) shall retain, the following assets (the “Retained
Assets”):

               (a)     cash and cash equivalents, including bank accounts, Cash Deposits and
payments in transit;

               (b)     except for the Company Interests, the equity ownership of any Debtor’s
Subsidiary, including the business of any such Subsidiary that is not a Debtor;

               (c)     all Intercompany Indebtedness;

               (d)    all insurance Contracts and all rights thereunder, including rights to credits
and refunds arising from insurance Contracts (except claims under insurance Contracts relating
to the Transferred Assets to the extent insurance proceeds have not been received prior to the
Effective Time, which are part of the Transferred Assets);

                (e)    all claims, rights, defenses, offsets, recoupments, causes of action, credits,
immunities or rights of set-off against Third Parties arising prior to the Effective Time with
respect to the Retained Liabilities or the Retained Assets, except claims, rights, defenses, offsets,
recoupments, causes of action, credits, immunities or set-off rights related to Medicare and
Medicaid;

               (f)     except as provided in Section 2.01(a)(x), the Organizational Documents of
the Debtors and their respective, minute books, stock and ownership records and corporate seals
and all other documents and records relating to the organization, maintenance, existence and
federal income taxation of the Debtors or its members;

               (g)    all Tax Assets, Tax deposits (including funds held by the Debtors in
respect of Withholding Taxes or estimated income taxes) and Tax Refunds;

             (h)       all business and financial records, books, ledgers, files, plans, documents,
correspondence, lists, and reports that relate solely to Retained Assets or Retained Liabilities;

              (i)     all rights, claims, causes of action and recoveries of Debtors under
Sections 506(c), 510, 542, 543, 544, 545, 547, 548, 549, 550, 551, 552(b), 553 or 724 of the
Bankruptcy Code (collectively, “Avoidance Actions”) and all proceeds thereof;

               (j)    all rights, claims, rebates, discounts, credits and professional retainers
incurred in connection with the Bankruptcy Cases;

              (k)     any executory Contracts or unexpired leases (“Excluded Contracts and
Leases”) that are not assumed and assigned to Buyer pursuant to this Agreement, or that are
otherwise terminated on or before the Effective Time;


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              (l)      all of the Debtors’ rights under the Transaction Documents, including the
Purchase Price; and

               (m)     the other assets listed on Schedule 2.02.

    Section 2.03       Assumption of Liabilities. The Buyer shall assume, on the terms and
subject to the conditions set forth herein, at the Closing and as of the Effective Time, only the
following liabilities of Debtors (collectively, the “Specifically Assumed Liabilities”), and no
others:

              (a)     liabilities arising after the Effective Time under Desired 365 Contracts
and which were not required to be performed prior to Closing; provided that, all Cure Costs shall
be paid by Debtors; and

                (b)     all Post-Petition Accounts Payable solely to the extent exclusively related
to the Transferred Assets or the Transferred Employees who are employed by Buyer or its
Affiliates effective as of or after the Closing.

    Section 2.04        Retained Liabilities. The Transferred Assets are being sold free and clear
of all Liens, Claims and Interests to the maximum extent allowed by Sections 363(f) and 1123 of
the Bankruptcy Code other than Specifically Assumed Liabilities and Permitted Post-Closing
Liens. Buyer is not assuming, shall not assume, and shall not be responsible for, and the Debtors
expressly retain: (i) all liabilities and obligations of Debtors related to the Retained Assets,
whether such liabilities and obligations arise before or after the Effective Time; and (ii) all other
liabilities and obligations of Debtors whatsoever associated with the Transferred Assets, the
Business or with any other properties, rights, contracts, or other assets of the Debtors, whether
presently in existence or arising hereafter, known or unknown, disputed or undisputed,
contingent or non-contingent, liquidated or unliquidated, or otherwise (clauses (i) and (ii)
collectively, the “Retained Liabilities”). Except for Specifically Assumed Liabilities, Buyer
shall not be obligated to assume or to perform or discharge, and does not assume or agree to
perform or discharge, any of the following:

              (a)    any liability arising out of or relating to Debtors’ or any Third Party’s
ownership or operation of the Business and the Transferred Assets prior to the Effective Time;

               (b)     any liability for any obligation or expense which under this Agreement
shall be borne by the Debtors;

             (c)       any liability arising out of or related to the administration of the Debtors’
Bankruptcy Cases;

               (d)     any liability arising out of or related to any Excluded Contracts and
Leases;

              (e)     any liability arising out of or related to any Third Party Claims against the
Debtors, pending or threatened, including any tort Claims,



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              (f)   any liability whether now existing or hereafter arising, under any
Healthcare Requirements or Environmental Laws;

               (g)     any liability for brokerage fees of the Debtors;

               (h)     any liability for any Taxes related to any taxable period (or portion
thereof) ending on or prior to the Closing Date;

               (i)     the Cure Costs;

               (j)     all Intercompany Indebtedness; and

                (k)   except as expressly provided in Section 6.04(b), any liability arising from
or related to the ERISA Plans, regardless of when arising.

    Section 2.05       Transfer of Company Interests.

               (a)    At the Closing and subject to the terms and conditions in this Agreement,
UGHS Hospitals shall deliver to Buyer or a Subsidiary of Buyer designated by Buyer an
assignment of the LP Interests; provided, however, that such Person shall not be the same Person
to which the GP Interests are assigned.

               (b)     At the Closing and subject to the terms and conditions in this Agreement,
UHS LLP shall deliver to Buyer or a Subsidiary of Buyer designated by Buyer an assignment of
the GP Interests; provided, however, that such Person shall not be the same Person to which the
LP Interests are assigned.

                 (c)     Debtors shall execute and deliver such documents, certificates, agreements
and other writings and take such other actions as may be necessary or desirable in order to
provide the following (collectively, the “Pre-Closing Transfers”): (i) Hospital LP shall convey,
transfer, distribute, assign and deliver any and all of Hospital LP’s right, title and interest in and
to all of the Retained Assets, and (ii) Debtors shall assume or cause to be assumed any and all
Retained Liabilities that are liabilities of Hospital LP.

                 (d)    If, following the Closing, Debtors or Buyer shall discover any failure to
effectuate the Pre-Closing Transfers, Debtors and Buyer shall, and shall cause their applicable
Affiliates to, for no additional consideration, promptly do such things and execute, acknowledge,
and deliver any further documents and instruments of transfer (including bills of sale and
assignment and assumption agreements, as applicable), in each case in form and substance
reasonably satisfactory to Debtors and Buyer, as may be necessary or desirable to effectuate the
Pre-Closing Transfers.

    Section 2.06       Good Faith Deposit.

               (a)     On November 3, 2015 Buyer deposited with Seller Parent as a good faith
deposit (the “Deposit”) the sum of One Million Dollars ($1,000,000), which is and shall continue
to be held in a segregated, interest bearing client trust bank account of counsel to Seller Parent.
Upon the Closing in accordance with the terms of this Agreement and the Transaction

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Documents, the Deposit will be applied against the Purchase Price in the manner provided in
Section 2.07(b).

              (b)     If this Agreement is terminated pursuant to Section 9.01(e)(i), the Deposit
together with all interest earned thereon shall immediately be paid to Debtors as a non-
completion fee.

               (c)      If this Agreement is terminated for any reason other than pursuant to
Section 9.01(e)(i), the Deposit and all interest thereon shall be returned to Buyer.

               (d)     At the Closing, the Deposit shall be paid to Debtors as provided in
Section 2.07(b).

    Section 2.07       Purchase Price.

               (a)   In consideration of the transfer of the Transferred Assets and in addition to
assuming the Specifically Assumed Liabilities as provided above, Buyer agrees to pay or cause
to be paid to the Debtors at the Closing the amount of $33,000,000 (the “Purchase Price”)
payable as follows:

                      (i)     The Payroll Tax Liability Amount, which shall be payable
               pursuant to the IRS Installment Arrangement as provided in Section 2.12.

                      (ii)    The Escrow Amount, which Buyer shall pay to the Escrow Agent
               pursuant to Section 2.11.

                      (iii)  Cash in an amount equal to the difference between (x) the
               Purchase Price, less (y) the Payroll Tax Liability Amount, and less (z) the Escrow
               Amount (such cash amount, the “Cash Payment”).

               (b)    At Closing, Buyer will pay or cause to be paid by wire transfer of
immediately available funds to such bank account or accounts of the Debtors as specified in
written instructions by the Debtors or their Representative to Buyer, an amount equal to the
following without setoff, recoupment or other reduction:

                       (i)     the Cash Payment;

                       (ii)    minus, the Deposit, which shall be retained and disbursed by Seller
               Parent for the benefit of the Debtors.

    Section 2.08       Closing.

                (a)     The closing of the Transactions (the “Closing”) shall take place at the
offices of Porter Hedges LLP, 1000 Main Street, 36th Floor, Houston, Texas 77002 commencing
at 10:00 a.m. on December 31, 2015, or such other date or location as the Parties may mutually
determine; provided, however, that all of the conditions of Closing set forth in Article 8 hereof
must have been satisfied or waived (other than those conditions which by their terms are not to
be satisfied until the Closing, but subject to the waiver or fulfillment of those conditions) prior to

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Closing. The Closing and all documentation delivered at Closing shall be effective as of the
Effective Time.

               (b)    At the Closing, the following shall occur:

                      (i)     The Debtors shall deliver to the Buyer a copy of the Sale Order;

                      (ii)    The Debtors shall deliver possession of the Transferred Assets;

                     (iii)  The Buyer shall deliver to Debtors the Purchase Price in the
               manner provided in Section 2.07(b);

                       (iv)   The Buyer shall have assumed the Specifically Assumed Liabilities
               in the manner hereinabove provided;

                      (v)    The Buyer shall deliver to the Debtors the various certificates,
               instruments and documents required to be delivered by Buyer under Article 8;

                      (vi)   The Debtors shall deliver to the Buyer the various certificates,
               instruments and documents required to be delivered by Debtors under Article 8;

                       (vii) The Debtors shall deliver to the Buyer an affidavit in accordance
               with the requirements of Treasury Regulation Section 1.1445-2(b) and sufficient
               to relieve Buyer of any withholding obligation under Section 1445 of the Code
               (the “Non-Foreign Affidavit”), along with written authorization for the Buyer to
               deliver such Non-Foreign Affidavit to the Internal Revenue Service;

                      (viii) The Buyer and the Debtors shall deliver or cause to be delivered to
               one another such other instruments and documents necessary or appropriate to
               evidence their respective due execution, delivery and performance of this
               Agreement; and

                     (ix)    Buyer shall contribute the Transferred Assets (other than the
               Company Interests) to Hospital LP with such contribution to become effective
               immediately after Buyer’s receipt of the Transferred Assets from Debtors.

    Section 2.09       Allocation of Purchase Price. The Debtors and Buyer agree that the
Transactions will be treated as an asset acquisition for tax purposes. Within thirty (30) calendar
days after the Closing Date, the Buyer shall prepare and provide a proposed allocation of the
Purchase Price among the Transferred Assets (the “Purchase Price Allocation”) to the Debtors.
Such proposed Purchase Price Allocation shall be in accordance with Section 1060 of the Code
and final and binding on the Parties unless, within thirty (30) calendar days after Buyer provides
such proposed Purchase Price Allocation, the Debtors notify Buyer of their disagreement with
any material item in such proposed allocation. In the event of such notification, the Debtors and
Buyer shall negotiate in good faith to resolve such dispute; provided, however, that if the Debtors
and Buyer cannot resolve such dispute within thirty (30) calendar days then they shall be entitled
to file separate allocations. Any allocation of the Purchase Price agreed to pursuant to this
section shall be binding on Buyer and the Debtors for all Tax reporting purposes except that

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neither Party shall be unreasonably impeded in its ability and discretion to negotiate,
compromise and/or settle any Tax audit, claim, or similar proceedings. The Purchase Price
Allocation shall be for tax purposes only and shall not be an allocation of the Purchase Price
among the Debtors for purposes of distributions under the Plan, nor shall the Purchase Price
Allocation have any effect on any other distribution or disbursement of monies to secured or
unsecured creditors in any of the Bankruptcy Cases.

     Section 2.10        Transfer Taxes. All federal, state and local sales and transfer taxes,
including all state and local taxes in connection with the transfer of the Transferred Assets, and
all recording and filing fees (collectively, “Transaction Taxes”) that may be imposed by reason
of the sale, transfer, assignment and delivery of the Transferred Assets, and are not exempt under
Section 1146(a) of the Bankruptcy Code shall be borne 50% by the Buyer and 50% by the
Debtors. Transaction Taxes do not include any Tax in the nature of an income tax, including any
capital gains, franchise, excise, inheritance, estate, succession, or gift taxes. The Debtors and
Buyer shall cooperate to minimize any such Transaction Taxes and to determine appropriate
taxing authorities and amount of Transaction Taxes, if any, payable in connection with the
transactions contemplated under this Agreement. The Debtors shall assist Buyer reasonably in
the preparation and filing of any and all required returns for or with respect to such Transaction
Taxes with any and all appropriate taxing authorities.

    Section 2.11      Escrow.

               (a)     At the Closing, Seller Parent, Buyer and the Escrow Agent shall execute
and deliver an Escrow Agreement in a form reasonably acceptable to Seller Parent, Buyer and
Escrow Agent (the “Escrow Agreement”), and Buyer shall deposit with the Escrow Agent an
amount equal to Three Hundred Thousand and no/100 Dollars ($300,000) (the “Escrow
Amount”), by wire transfer of immediately available funds to an account of the Escrow Agent
designated in writing by the Escrow Agent to Buyer on the Closing Date.

              (b)    The Escrow Agent shall hold and invest the Escrow Amount, including all
earnings on such funds, and make disbursements therefrom in accordance with the terms of the
Escrow Agreement. The Escrow Agreement shall provide that the Escrow Amount may only be
disbursed upon the joint written instruction of the Seller Parent and the Buyer. All fees and
expenses associated with the Escrow Agreement shall be borne on-half by Debtors and one-half
by Buyer.

             (c)    The Buyer and Seller Parent shall direct the Escrow Agent to pay to the
CMS or its designee the CMS Payment Amount upon receipt of the final amount payable to
CMS in connection with the matters self-reported by Debtors under Section 2.13.

              (d)     Immediately following the disbursement of the CMS Payment Amount,
the Buyer and Seller Parent shall direct the Escrow Agent to pay to the Seller Parent, on behalf
of all the Debtors, the balance of the Escrow Amount, if any, including any interest accrued
thereon.

    Section 2.12      IRS Installment Arrangement.



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                (a)    After the date hereof and during the pendency of the Bankruptcy Cases,
Debtors and Buyer shall reasonably cooperate with each other to negotiate a commercially
reasonable arrangement with the IRS (the “IRS Installment Arrangement”) for the payment of
the Payroll Tax Liability Amount in full satisfaction and discharge of the Pre-Petition Federal
Payroll Tax Liabilities, including any related liability of Debtors or Debtors’ or their Affiliates’
officers, directors and managers; provided, however, that in no event shall the terms of the IRS
Installment Arrangement impose any personal liability on any of the directors, officers or
managers of Buyer or any Affiliate of Buyer.

                (b)    Debtors and Buyer shall use commercially reasonable, good faith efforts
to structure the IRS Installment Arrangement as follows:

                       (i)    Buyer shall cause Hospital LP to issue to Debtors (other than
               Hospital LP) a subordinated installment promissory note in form reasonably
               acceptable to the Buyer and Debtors in the principal amount of the Payroll Tax
               Liability Amount, payable in four equal annual installments commencing on the
               first anniversary of the Closing Date with a final payment due not later than
               February 27, 2020, which note shall be in negotiable form, not subject to the
               terms of this Agreement, and assignable to the IRS such that, if the note were
               assigned to the IRS pursuant to the Plan or otherwise, the IRS would be a bona
               fide purchaser; provided, however, (y) the note shall be unsecured and (z) the
               terms and conditions of the note, including the term for installment payments,
               shall comply with the provisions of Section 1129(a)(9)(C) of the Bankruptcy
               Code governing payment to taxing authorities.

    Section 2.13       CMS Self-Reporting. Promptly following the date hereof, Debtors shall
(a) commence the Self-Referral Disclosure Protocol with the CMS in order to resolve the
potential failure by Debtors to continuously disclose on their public website that the Hospital is
owned or invested in by Physicians and (b) take all appropriate actions, if any, to resolve with
CMS or, if directed by CMS, with the applicable Medicare Administrative Contractor, the failure
by Debtors to disclose to CMS that the Hospital has Physician Owners.

                                           ARTICLE 3

                REPRESENTATIONS AND WARRANTIES OF DEBTORS

        The Debtors represent and warrant to Buyer, as of the date hereof and as of the Closing
Date, that:

    Section 3.01      Corporate Existence and Power. Except as set forth on Schedule 3.01,
the Debtors are duly organized and existing under the laws of their jurisdiction of organization.
Debtors have made available to Buyer true and complete copies of the Organizational
Documents of the Debtors as currently in effect.

   Section 3.02    Debtor-in-Possession Status. The Debtors are debtors-in-possession
under Chapter 11 of the Bankruptcy Code and are operating the Business as debtors-in-
possession.


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    Section 3.03        Authorization. Subject to the entry of the Confirmation Order or Sale
Order by the Bankruptcy Court, the execution, delivery and performance by the Debtors of this
Agreement and the other Transaction Documents dated the date hereof to which the Debtors are
a party and the consummation of the Transactions have been duly authorized. Subject to the
entry of the Confirmation Order or Sale Order by the Bankruptcy Court, this Agreement and
each other Transaction Document dated as of the date hereof to which the Debtors are a party
(assuming in each case due authorization, execution and delivery thereof by the other parties
thereto) constitutes a valid and binding agreement of the Debtors, enforceable against the
Debtors in accordance with its terms. Subject to the entry of the Confirmation Order or Sale
Order by the Bankruptcy Court, all other Transaction Documents executed and delivered by the
Debtors (assuming in each case due authorization, execution and delivery thereof by the other
parties thereto) shall, when executed by the Debtors, constitute valid and binding agreements of
Debtors , enforceable against the Debtors in accordance with their terms.

    Section 3.04       Governmental Authorization. Except as listed on Schedule 3.04, the
execution, delivery and performance by the Debtors of this Agreement and each other
Transaction Document to which they are or will be parties and the consummation by the Debtors
of the Transactions require no action by or in respect of, or filing with or notification to, any
Governmental Authority other than the filing of appropriate pleadings and notices with the
Bankruptcy Court and the approval of the Plan and this Agreement by the Bankruptcy Court or
as specifically provided in this Agreement.

    Section 3.05       Assets and Operations of the Business. Subject to entry of the Sale
Order, Debtors shall deliver to Buyer good and marketable title to all of the Transferred Assets
free and clear of all Liens, Claims and Interests to the maximum extent permitted by Sections
363(f) and 1123 of the Bankruptcy Code, other than Specifically Assumed Liabilities and
Permitted Post-Closing Liens. The Transferred Assets are all of the assets used in the Business
(other than Retained Assets), and the Transferred Assets are owned, leased or held by the
Debtors or by Hospital LP except for goods, parts, supplies, machines, devices, instruments,
tools, implants, apparatus or merchandise held under consignment arrangements covered by 365
Contracts. All operations relating to the Business are conducted through the Debtors. All
individuals employed in the Business are employed and paid by the Debtors.

    Section 3.06      Employee Benefits Matters.

               (a)     Schedule 3.06 contains a correct and complete list identifying all
“employee benefit plans” (as defined in Section 3(3) of ERISA) and any bonus, stock option,
stock purchase, restricted stock, equity based, incentive, deferred compensation, retiree medical
or life insurance, supplemental retirement, severance, change in control or other benefit plans,
programs or arrangements, and all employment, termination, severance or other contracts or
agreements, to which the Debtors, or any of their ERISA Affiliates is a party, with respect to
which the Debtors, or any of their ERISA Affiliates has any obligation to or which are
maintained, contributed to or sponsored by the Debtors or any of their ERISA Affiliates for the
benefit of, any current or former employee, officer or director of the Debtors (collectively, the
“ERISA Plans”).




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                (b)      With respect to each of the ERISA Plans listed on Schedule 6.04(b), the
Debtors have heretofore made available to the Buyer true and correct copies of each of the
following documents, as applicable: (i) a copy of the plan documents (including all amendments
thereto) for each written ERISA Plan or a written description of any ERISA Plan that is not
otherwise in writing; (ii) a copy of the annual report or Internal Revenue Service Form 5500
Series, if required under ERISA, with respect to each ERISA Plan for the last three plan years
ending prior to the date of this Agreement for which such a report was filed; (iii) a copy of the
actuarial report, if required under ERISA, with respect to each ERISA Plan for the last three plan
years ending prior to the date of this Agreement; (iv) a copy of the most recent Summary Plan
Description, together with all Summaries of Material Modification issued with respect to such
Summary Plan Description, if required under ERISA, with respect to each ERISA Plan, and all
other material employee communications relating to each ERISA Plan; (v) if the ERISA Plan is
funded through a trust or any other funding vehicle, a copy of the trust or other funding
agreement (including all amendments thereto) and the latest financial statements thereof, if any;
(vi) all contracts relating to the ERISA Plans with respect to which the Debtors or any ERISA
Affiliate may have any liability, including insurance contracts, investment management
agreements, subscription and participation agreements and record keeping agreements; and (vii)
the most recent determination letter received from the IRS with respect to each Plan that is
intended to be qualified under Section 401(a) of the Code.

               (c)     Neither the execution of this Agreement nor the consummation of the
transactions contemplated hereby will (i) entitle any employees of the Debtors to severance pay
or any increase in severance pay upon consummation of the transactions contemplated hereby or
upon any termination of employment after the date hereof, or (ii) except as provided in the plan
document or as required by law upon termination, accelerate the time of payment or vesting or
trigger any payment or funding (through a grantor trust or otherwise) of compensation or benefits
under, or increase the amount payable or trigger any other material obligation pursuant to, any of
the ERISA Plans. None of the ERISA Plans in effect immediately prior to the Closing Date
would result separately or in the aggregate (including as a result of this Agreement or the
transactions contemplated hereby) in the payment of any “excess parachute payment” within the
meaning of Section 280G of the Code.

                (d)     At no time have the Debtors or any of their ERISA Affiliates ever
maintained, established, sponsored, participated in, or contributed to, any ERISA Plan that is
subject to Title IV of ERISA or Section 412 of the Code.

               (e)     At no time have the Debtors or any of their ERISA Affiliates contributed
to or been required to contribute to any Multiple Employer Plan.

               (f)     At no time have the Debtors or any of their ERISA Affiliates contributed
to or been required to contribute to a Multiemployer Plan.

               (g)    Each ERISA Plan that is assumed under Section 6.04 by Buyer has been
operated in all material respects in accordance with its terms and the requirements of all
Applicable Laws, including, but not limited to, the Code, ERISA, COBRA, the COBRA
provisions of the American Recovery and Reinvestment Act of 2009 and the Health Insurance
Portability Accountability Act of 1996, as amended.

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            (h)     No ERISA Plan provides for retiree medical or post-termination of
employment medical coverage except as required by Applicable Law.

                (i)     The ERISA Plans listed on Schedule 6.04(b) are each fully insured and
may be assumed by the Buyer in order to continue to cover only the existing group of
Transferred Employees (as defined in Section 6.04(a) hereof) and any qualified beneficiaries
who are or become entitled to COBRA as a result of the transactions contemplated in this
Agreement, and such assumption will not cause such policies to be terminated or terminable by
the issuers of the policies.

    Section 3.07      Environmental Matters. Except as set forth in Schedule 3.07, as of the
date of this Agreement:

                 (a) To Debtors’ Knowledge, no notice, notification, demand, request for
information, citation, summons, directive, decree, injunction or order has been received that has
not been resolved, responded to or complied with, no complaint has been filed, no penalty has
been assessed and no investigation, action, claim, suit, proceeding or review is pending or, to
Debtors’ Knowledge, threatened by any Governmental Authority or other Person against or
affecting the Debtors and relating to or arising out of any Environmental Law.

                (b) To Debtors’ Knowledge, there are no Claims against or relating to, and
there are no other obligations or liabilities of, the Debtors, whether pre-petition, post-petition,
administrative, priority, secured, unsecured, accrued, contingent, absolute, determined,
determinable or otherwise, arising under or relating to any Environmental Law, and, to Debtors’
Knowledge, there are no facts, events, conditions, situations or sets of circumstances which
could reasonably be expected to result in or be the basis for any such Claim, liability or
obligation.

                 (c) To Debtors’ Knowledge, no Hazardous Materials, incinerator, sump,
surface impoundment, lagoon, landfill, septic, wastewater treatment or other disposal system or
underground storage tank (active or inactive) is present at, on or under any property owned,
leased or operated by the Debtors as of the date of this Agreement in a condition or manner in
violation of any Environmental Law in any material respect.

                 (d) To Debtors’ Knowledge, (i) no property owned, leased or operated by
Debtors and (ii) no property to which the Debtors have, directly or indirectly, transported or
arranged for the transportation of any Hazardous Materials, is listed or proposed for listing, on
the National Priorities List promulgated pursuant to CERCLA, on CERCLIS (as defined in
CERCLA) or on any similar federal, state, local or foreign list of sites requiring investigation or
cleanup.

               (e) To Debtors’ Knowledge, each Debtor is in compliance (i) with all
Environmental Laws in all material respects and (ii) with all Permits relating to or required by
Environmental Law in all material respects.

                  (f) To Debtors’ Knowledge, there has been no environmental investigation,
study, audit, test, review or other analysis conducted in relation to the Debtors or the current or


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   prior business of the Debtors or any property or facility now or previously owned, leased or
   operated by the Debtors which has not been delivered or made available to Buyer.

                     (g) The Debtors have made available to the Buyer all material assessments,
   reports, data, results of investigations or audits, and other information that is in the possession of
   or reasonably available to the Debtors regarding environmental matters pertaining to or the
   environmental condition of the Business, or the compliance (or noncompliance) by the Debtors
   with any Environmental Laws.

       Section 3.08      Finders’ Fees. Except for Hammond Hanlon Camp, LLC, whose fees and
   expenses will be paid by the Debtors upon approval by the Bankruptcy Court, there is no
   investment banker, broker, finder or other intermediary which has been retained by or is
   authorized to act on behalf of the Debtors who is or will be entitled to any fee or commission
   based on any arrangement or agreement made by or on behalf of the Debtors in connection with
   the Transactions.

      Section 3.09        365 Contracts. Schedule 3.09 contains a correct and complete list of all
   365 Contracts. Debtors have made available to Buyer true, correct and complete copies of each
   365 Contract. Except for those 365 Contracts indicated by an asterisk on Schedule 3.09, none of
   Debtors is the licensor of any intellectual property, including any trademarks or any other
   property that could be the subject of an election under Section 365(n) of the Bankruptcy Code.

      Section 3.10       Financial Information. Debtors have provided to Buyer true and
   complete copies of the most recent Budget (as defined in the DIP Facility, the “Budget”).

       Section 3.11       Taxes. Except as set forth on Schedule 3.11 and except with respect to the
Pre-Petition Payroll Tax Liabilities:

                  (a)   All material Tax Returns required to have been filed by or with respect to
   the Debtors have been filed (taking into account any extension of time to file granted or
   obtained) and such Tax Returns are true, correct and complete in all material respects;

                  (b)   All material Taxes required to have been paid by or with respect to the
   Debtors have been paid, other than Taxes of the Debtors the payment of which is prohibited or
   stayed by the Bankruptcy Code;

                  (c)    There are no Tax liens on any assets of the Debtors, other than Permitted
   Post-Closing Liens and Tax Liens that will be released upon entry of the Confirmation Order or
   Sale Order, as applicable; and

                   (d)    Except as set forth on Schedule 3.11, the Debtors have not received any
   written notice of any pending or threatened assessment of Taxes, or any audits, examinations,
   investigations, or other proceedings in respect of Taxes or Tax Returns of the Debtors.

       Section 3.12         Transactions with Affiliates. Schedule 3.12 sets forth a complete and
   correct list of all transactions, whether or not entered into in the Ordinary Course of Business, to
   or by which the Debtors, on the one hand, and any Affiliate of the Debtors, on the other hand, are
   a party or are otherwise bound or subject, or by which any of the Transferred Assets are bound or

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subject or pursuant to which the Debtors have made, since December 31, 2014, or is obligated to
make payments or incur expenses to or for the benefit of the Debtors or any Affiliate of the
Debtors.

    Section 3.13       Key Vendors. Debtors have provided the Buyer with a complete and
correct list, on a consolidated basis, of the Debtors’ and Hospital LP’s top 20 vendors based on
aggregate purchases from suppliers for the 12-month period ended August 31, 2015.

    Section 3.14       Compliance with Laws; Regulatory Approvals.

               (a)    The Debtors are in compliance in all respects with the requirements of
Applicable Laws, except (i) for matters of non-compliance that would not reasonably be
expected to have a Debtors Material Adverse Effect, (ii) instances in which such requirement of
Law is being contested in good faith by appropriate proceedings diligently conducted, or
(iii) where compliance with such law is excused or stayed by the Bankruptcy Code or by order of
the Bankruptcy Court; and

               (b)     Debtors have obtained, and are in compliance with the terms and
conditions of, all Regulatory Approvals required to conduct its Business and all such Regulatory
Approvals are in full force and effect, except for matters of non-compliance that would not
reasonably be expected to have a Debtors Material Adverse Effect.

                (c)    As of the date hereof and as required by Applicable Law, each Facility
required to be accredited by The Joint Commission or the Healthcare Facilities Accreditation
Program (“HFAP”) is so accredited with no contingencies. None of Debtors has received any
notices of deficiency from The Joint Commission or HFAP with respect to any Facility’s current
accreditation that are outstanding on the date hereof and require any action or response by
Debtors pertaining to such deficiencies that have not been corrected or otherwise remedied. A
copy of the most recent accreditation letter from The Joint Commission or HFAP for each
Facility has been made available to Buyer.

                (d)      Each Facility required to be licensed is duly licensed pursuant to the
applicable laws of the State of Texas. The pharmacies, laboratories, and all other ancillary
departments located at the Facilities that are required to be specially licensed are duly licensed
by the Texas Department of State Health Services or other appropriate licensing agency (the
“State Health Agency”). The Debtors have all other material licenses, registrations, permits, and
approvals which are required by law to operate the Facilities. Schedule 3.14(d) sets forth an
accurate list of all such licenses, registrations and permits owned or held by Debtors, all of which
are now and as of the Closing shall be in good standing.

                (e)   Except as set forth on Schedule 3.14(e) hereto, no application for any
Certificate of Need, Exemption Certificate (each as defined below) or declaratory ruling has been
made by any of the Debtors with the State Health Agency or other applicable agency which is
currently pending or open before such agency (collectively, the “Applications”). Except as set
forth on Schedule 3.14(e) hereto, none of the Debtors has any Applications pending nor any
approved Applications which relate to projects not yet completed. As used herein, “Certificate of
Need” means a written statement issued by the State Health Agency evidencing community need


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for a new, converted, expanded or otherwise significantly modified health care facility or health
service, and “Exemption Certificate” means a written statement from the State Health Agency
stating that a health care project is not subject to the Certificate of Need requirements under
applicable state law.

    Section 3.15       Government Reimbursement Programs. The Hospital is (i) qualified
for participation in, and has a current and valid provider agreement with, the applicable
Government Reimbursement Program(s) and their fiscal intermediaries or paying agents, and is
compliance in all material respects with the conditions of participation or requirements
applicable with respect to such participation, and (ii) eligible for payment under the applicable
Government Reimbursement Programs for services rendered to qualified beneficiaries. The
Debtors’ billing practices with respect to the Facilities to Government Reimbursement Programs,
have been in compliance in all material respects with all Applicable Laws. Other than
recoupments, claim denials and overpayments occurring in the Ordinary Course of Business and
which would not have a Debtors Material Adverse Effect, none of the Debtors has billed or
received any payment or reimbursement from any such payors in amounts in excess of amounts
allowed by Applicable Law.

    Section 3.16       Absence of Certain Business Practices. None of Debtors or Debtors’
officers, directors or employees has been (a) excluded from participating in any applicable
Government Reimbursement Program, (b) subject to sanction or convicted of a criminal offense
under the Referral Laws, (c) charged with, or to Debtors’ Knowledge, investigated for, or
(d) received written notice that any of the foregoing is pending or threatened for, any violation of
Applicable Law related to fraud, theft, embezzlement, breach of fiduciary responsibility,
financial misconduct, obstruction of any investigation, or controlled substances, and to Debtors’
Knowledge, no such investigations are pending, threatened or imminent.

    Section 3.17       Labor.

                (a)    None of the Debtors is party to, or bound by, any collective bargaining
agreement or any other labor-related agreements or arrangements with any labor union or labor
organization, no labor union or labor organization has made a pending demand for recognition or
certification and, to Debtors’ Knowledge, there are no labor union organizing activities with
respect to any of Debtors’ employees. There has been no actual or, to Debtors’ Knowledge,
threatened material arbitrations, material grievances, labor disputes, strikes, lockouts, slowdowns
or work stoppages against or affecting the Debtors.

               (b)     The Debtors are in compliance with all Applicable Laws respecting
employment and employment practices, including all Laws respecting terms and conditions of
employment, health and safety, wages and hours, child labor, immigration, employment
discrimination, disability rights or benefits, equal opportunity, plant closures and mass layoffs,
affirmative action, workers’ compensation, labor relations, employee leave issues and
unemployment insurance except for matters of non-compliance that would not be reasonably
expected to have a Debtor Material Adverse Effect.

    Section 3.18       Whole Hospital Exception.



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                (a)     The Hospital had 62 Physician Owners on March 23, 2010, and on that
date the total value of the ownership or investment interests held in the Hospital Facility, or in an
entity whose assets include the Hospital, by Physician Owners in the aggregate, was 85.81%.

              (b)     Since September 23, 2011, the percentage of the total value of the
ownership or investment interests held in the Hospital, or in an entity whose assets include the
Hospital, by Physician Owners in the aggregate has at no time exceeded such percentage as of
March 23, 2010.

                (c)     Each of the Physician Owners who has referred Medicare beneficiaries or
Medicaid recipients to the Hospital for any designated health services, as the terms “refer” and
“designated health services” are defined in the Stark Law, held clinical privileges at the Hospital
at the time of the referral.

                (d)    Each of the Physician Owner’s ownership or investment interest was and
is in the entire Hospital (or an entity whose assets included the Hospital) and not in merely one
or more distinct part units or departments of the Hospital.

              (e)      The Hospital had a Medicare provider agreement and Medicare provider
number in effect as of March 23, 2010, and the same Medicare provider agreement and Medicare
provider number have remained continuously in effect and in good standing since March 23,
2010.

               (f)     The Hospital Facility’s aggregate baseline number of operating rooms and
procedure rooms (a room in which cardiac catheterizations, angiographies, angiograms or
endoscopies are performed), and beds for which the Hospital was licensed by the State Health
Agency on March 23, 2010 (“Baseline Number”), was 81, and the Baseline Number has not
increased at any time since March 23, 2010.

               (g)     Since September 23, 2011, Hospital LP has required each referring
Physician Owner who is a member of the Hospital’s medical staff to agree, as a condition of
continued medical staff membership or admitting privileges, to provide written disclosure of his
or her ownership or investment interest in the Hospital (and, if applicable, the ownership or
investment interest of any treating physician) to all patients whom the Physician Owner refers to
any Facility and such disclosure was made at a time that permitted the patient to make a
meaningful decision regarding the receipt of care.

               (h)     Since September 23, 2011, none of the Debtors has conditioned any
physician ownership or investment interests, either directly or indirectly, on whether a Physician
Owner makes or influences referrals to any Facility or whether Physician Owner generates
business for any Facility.

               (i)     Since September 23, 2011, any ownership or investment interests that any
of the Debtors offered to a Physician Owner were not offered on more favorable terms than the
terms offered to a person who is not a Physician Owner.




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               (j)     Since September 23, 2011, none of the Debtors (or to Debtors’
Knowledge, any Physician Owner or other owner or investor in the Hospital) directly or
indirectly provided loans or financing for any investment in the Hospital by a Physician Owner.

               (k)    Since September 23, 2011, none of the Debtors (or to Debtors’
Knowledge, any Physician Owner or other owner or investor in the Hospital) directly or
indirectly guaranteed a loan, made a payment toward a loan, or otherwise subsidize a loan, for
any individual Physician Owner or group of Physician Owners that is related to acquiring any
ownership or investment interest in the Hospital.

                (l)    Since September 23, 2011, with respect to any ownership or investment
returns in Hospital Facility distributed by Debtors or Equity Sellers (“Distributions”), such
Distributions were in an amount that is directly proportional to the ownership or investment
interest of such owner or investor in the Hospital.

               (m)    Since September 23, 2011, no Physician Owner received, directly or
indirectly, any guaranteed receipt of or right to purchase other business interests related to the
Hospital, including the purchase or lease of any property under the control of Physician Owners
or other owners or investors in the Hospital or located near the premises of the Hospital.

               (n)     Since September 23, 2011, none of the Debtors offered a Physician Owner
the opportunity to purchase or lease any property under the control of the Hospital or any
Physician Owner or other owner or investor in the Hospital on more favorable terms than the
terms offered to an individual who is not a Physician Owner.

              (o)     Since September 23, 2011, Hospital Facility has had a Physician available
on the premises to provide services on a 24/7 basis.

               (p)     Since September 23, 2011, the Hospital Facility has had the capacity to
provide assessment and initial treatment for all patients, and the ability to refer and transfer
patients to other hospitals with the capability to treat the needs of the patient that the Hospital
Facility was unable to address.

               (q)    The Hospital Facility was licensed as a general acute care hospital by the
State Health Agency on or before March 23, 2010, and it has not at any time been operated or
licensed as an ambulatory surgery center.

    Section 3.19        Equity Sellers. UGHS Hospitals owns 99.999% of the LP Interests, and
UHS LLP owns 0.001% of the GP Interests, and together the Equity Sellers own all of the
partnership interests in Hospital LP.

    Section 3.20       No Other Representations or Warranties.                  Except for the
Representations contained in this Article 3 (as modified by the Schedules hereto), none of
Debtors or any other Person makes any express or implied representation or warranty with
respect to Debtors, the Business, the Transferred Assets, the Specifically Assumed Liabilities or
the Transactions, and each Debtor disclaims any other representations and warranties, whether
made by any Debtor, any Affiliate of Debtors or any of their respective Representatives. Except
for the Representations contained in this Article 3 (as modified by the Schedules hereto), Debtors

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expressly disclaim and negate any representation or warranty, expressed or implied, at common
law, by statute, or otherwise, relating to the condition of the Transferred Assets (including any
implied or express warranty of merchantability or fitness for a particular purpose).

                                          ARTICLE 4

                  REPRESENTATIONS AND WARRANTIES OF BUYER

        Buyer and Buyer Parent, jointly and severally, represent and warrant to the Debtors, as of
the date hereof and as of the Closing Date, that:

    Section 4.01       Corporate Existence and Power. Buyer is a Nevada limited liability
company existing and in good standing under the laws of Nevada and has full power and
authority to carry on its business as now conducted. Buyer Parent is an Oklahoma corporation
existing and in good standing under the laws of Oklahoma and has full power and authority to
carry on its business as now conducted.

    Section 4.02       Authorization. The execution, delivery and performance by Buyer of this
Agreement and the other Transaction Documents to which it is or will be a party and the
consummation of the Transactions are within the powers of Buyer and will have been duly
authorized by all necessary action on the part of Buyer. Each of this Agreement and the other
Transaction Documents, dated as of the date hereof, to which Buyer is a party have been duly
executed and delivered on behalf of Buyer, and (assuming in each case due authorization,
execution and delivery thereof by the other parties thereto) constitutes a valid and binding
agreement of Buyer, enforceable against Buyer in accordance with its terms (subject to
applicable bankruptcy, insolvency, fraudulent transfer, reorganization, moratorium and other
laws affecting creditors’ rights generally and general principles of equity). All other Transaction
Documents executed and delivered by Buyer shall, when executed and delivered by Buyer
(assuming in each case due authorization, execution and delivery thereof by the other parties
thereto), constitute valid and binding agreements of Buyer, enforceable against Buyer in
accordance with their terms (subject to applicable bankruptcy, insolvency, fraudulent transfer,
reorganization, moratorium and other laws affecting creditors’ rights generally and general
principles of equity).

    Section 4.03      Governmental Authorization. The execution, delivery and performance
by Buyer of this Agreement and each other Transaction Document to which Buyer is or will be a
party and the consummation by Buyer of the Transactions require no action by or in respect of,
or filing with or notification to, any Governmental Authority other than the filing of the
Disclosure Statement, the Plan and other appropriate pleadings and notices with the Bankruptcy
Court and the approval of the Plan by the Bankruptcy Court or as specifically provided in this
Agreement.

     Section 4.04     Noncontravention. The execution, delivery and performance by Buyer of
this Agreement and the other Transaction Documents to which Buyer is or will be a party and the
consummation by Buyer of the Transactions do not and will not (i) contravene, conflict with, or
result in any violation or breach of any provision of the Buyer’s Organizational Documents,
(ii) assuming compliance with the matters referred to in Section 4.03, contravene, conflict with

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or result in a violation or breach of any provision of any Applicable Law, or (iii) assuming
compliance with the matters referred to in Section 4.03, require any consent or other action by
any Person under, constitute a default, or an event that, with or without notice or lapse of time or
both, would constitute a default, under, or cause or permit the termination, cancellation,
acceleration or other change of any right or obligation or the loss of any benefit to which Buyer
is entitled under any provision of any Contract binding upon Buyer or by which its assets may be
bound or any Permit affecting, or relating in any way to, Buyer or the assets or business of
Buyer, with only such exceptions, in the case of each of clauses (i) through (iii), as has not had
and would not reasonably be expected to have, individually or in the aggregate, a Buyer Material
Adverse Effect.

    Section 4.05       Litigation. As of the date hereof, there is no Proceeding (or any basis
therefor) pending against, or, to the knowledge of Buyer, threatened against or affecting Buyer,
any present or former officer, director or employee of Buyer or any other Person for whom
Buyer may be liable or any of its respective properties, that, (i) if determined or resolved
adversely in accordance with the plaintiff’s demands, would reasonably be expected to have,
individually or in the aggregate, a Buyer Material Adverse Effect, (ii) in any manner challenges
or seeks to prevent, enjoin, alter or materially delay the Transactions, or (iii) affects the
execution and delivery by Buyer of this Agreement and the other Transaction Documents to
which either Buyer is or will be a party.

    Section 4.06      Compliance with Healthcare Requirements. Buyer has the power and
authority to consummate the Transactions, to assume and maintain all Permits included in the
Transferred Assets and to operate the Facilities, all in accordance with all applicable Healthcare
Requirements. To Buyer’s knowledge, there is no reason that any such Permit or filing, consent
or approval of or by any Governmental Authority that is or will be necessary for the operation of
the Facilities by Buyer will not be provided by or obtained from such Governmental Authority
without material conditions.

    Section 4.07       Financing. Based on currently available information and preliminary
financing approvals, as of the date of this Agreement, Buyer reasonably expects to have
sufficient cash and available lines of credit and other sources of available funds to enable it to
perform all of its obligations under this Agreement and the other Transaction Documents to
which it will be a party, including to pay the Purchase Price in accordance with the terms of this
Agreement.

    Section 4.08     Finders’ Fees. There is no investment banker, broker, finder or other
intermediary which has been or will be retained by or authorized to act on behalf of Buyer who
might be entitled to any fee, commission or other compensation in connection with the
Transactions.

   Section 4.09        No Other Representations or Warranties.                Except for the
Representations in this Article 4, none of Buyer or any other Person makes any express or
implied representation or warranty with respect to Buyer or Buyer Parent or the Transactions,
and Buyer disclaims any other representations and warranties, whether made by Buyer, any
Affiliate of Buyer or any of their respective Representatives. Except for the Representations in



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this Article 4, Buyer expressly disclaims and negates any representation or warranty, expressed
or implied, at common law, by statute, or otherwise, relating to Buyer or the Transactions.

                                          ARTICLE 5

                                COVENANTS OF DEBTORS

    Section 5.01       Conduct of the Business. From the date hereof until the Closing or, if
earlier, the termination of this Agreement, taking into account that the Debtors are debtors-in-
possession and subject to orders of the Bankruptcy Court, except (I) as otherwise required or
permitted by this Agreement or any other Transaction Documents, (II) as required by any
Contract existing as of the date hereof to which a Debtor or Hospital LP is a party and which has
been made available to Buyer and which has not been rejected prior to Closing, (III) as required
by any Applicable Law or any Governmental Authority or any requirements or limitations
resulting from the Bankruptcy Cases or orders from the Bankruptcy Court, or (IV) as otherwise
consented to in writing by Buyer (such consent not to be unreasonably withheld, conditioned or
delayed), the Debtors agree that they shall:

             (a)     use commercially reasonable efforts to conduct the Business in the
Ordinary Course of Business;

                (b)    use commercially reasonable efforts to carry on the Business and their
relationships with customers, suppliers, employees and others with whom the Debtors have
business relations in substantially the same manner as they have in the 90-day period prior to the
date of this Agreement;

                (c)    confer with the Buyer concerning material business or operational matters
relating to the Business;

              (d)      use commercially reasonable efforts to maintain all of the tangible
Transferred Assets in their current condition, reasonable wear and tear excepted;

              (e)    comply with Applicable Laws, except for matters of non-compliance as
would not reasonably be expected to have a Debtors Material Adverse Effect;

               (f)    maintain its books and records in the usual, regular and ordinary manner;

               (g)     respond to reasonable queries of the Buyer or its Representatives
concerning the status and operations of the Business in connection with Buyer’s continued due
diligence investigation;

              (h)    not grant any increase in salary, bonus or hourly rate or make any advance
(excluding advances for ordinary and necessary business expenses) or loan to, any of employee,
or hire any new employee, except with the consent of Buyer (which consent shall not be
unreasonably withheld, conditioned or delayed); provided, however that the compensation of
employees receiving an annual compensation of less than $50,000 may be changed in the
Ordinary Course of Business and that Debtors may hire new employees who will receive an
annual compensation of less than $50,000 in the Ordinary Course of Business;

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               (i)    not, except pursuant to the terms of any existing benefit plan of the
Debtors or pursuant to the terms of any Contract, grant any severance or termination pay to any
officer, or employee thereof of the Debtors, either individually or as part of a class of similarly
situated Persons;

              (j)     not adopt or enter into any new ERISA Plan in regard to employees of the
Business or materially increase the benefits available under any ERISA Plan of the Debtors;

              (k)   not make any material amendment to, terminate or fail to use
commercially reasonable efforts to renew any Contract that is a Desired 365 Contract;

               (l)    not merge or consolidate with or into any legal entity, dissolve, liquidate,
or otherwise terminate its existence;

                (m)    not sell, lease, assign, transfer or otherwise dispose of any material assets
or properties that would be Transferred Assets if retained by Debtors at the Effective Time, other
than Inventory and materials sold, consumed or otherwise disposed of in the Ordinary Course of
Business;

              (n)      not assume, assign, reject, terminate or modify any executory contract or
unexpired lease (i) that is a Desired 365 Contract or (ii) with respect to a contract or lease not
designated as Desired 365 Contract, unless consented to by Buyer (such consent not to be
unreasonably withheld, conditioned or delayed);

               (o)    not extend credit in the performance of services or sale of inventory, other
than in the Ordinary Course of Business;

                (p)     not change in any material respect existing practices and procedures with
respect to billing or the collection of Accounts Receivable, offer to discount, or discount the
amount of any outstanding receivable or extend any other incentive (whether to the account
debtor or any employee or third party responsible for the collection of receivables) to accelerate
the collection thereof except in the Ordinary Course of Business;

               (q)    not relocate any of the Transferred Assets, except for distribution and sale
of Inventory and transfers of equipment and supplies between or among the locations from which
the Debtors operate the Business, in each case in the Ordinary Course of Business, or as would
not materially and adversely affect the Business or the Transferred Assets;

                (r)    not fail to keep in full force and effect present insurance policies, binders,
contracts, instruments or other comparable insurance benefiting the assets of the Debtors and the
conduct of the Business; and

               (s)     not commit or agree, whether in writing or otherwise, to take any action
prohibited by this Section 5.01.

    Section 5.02       Reserved.

    Section 5.03       Bankruptcy Court Approval.

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              (a)    Notwithstanding any conflicting or inconsistent provisions of this
Agreement, the Debtors’ obligations under this Agreement and the Transactions are subject to
and contingent upon the approval and authorization of the Bankruptcy Court. Pursuant to the
bidding procedures contained in the Bidding Procedures Order, Buyer was determined by the
Debtors to have made the Highest and Best Bid at the Auction and thereby became the Buyer
hereunder.

                (b)     The Sale Hearing to approve this Agreement shall take place no later than
November 9, 2015. If the Bankruptcy Court does not enter the Sale Order on November 9, 2015,
Buyer will have the right to terminate this Agreement pursuant to Sections 9.01(d)(vii) and
9.01(d)(viii) unless the Bankruptcy Court approves bid protections including a Break Up Fee and
Expense Reimbursement to be paid the Debtors upon the consummation of an Alternative
Proposal.

                (c)    The Debtors shall use reasonable efforts to (i) obtain entry of the Sale
Order, (ii) cause the Sale Order to become a Final Order prior to the End Date, and (iii) obtain
entry of any other order required to consummate the Transactions as promptly as practicable, all
of which orders, and any amendment or supplement to any of the foregoing, must be reasonably
acceptable in form and substance to the Debtors and Buyer; provided, however, that if, after the
conclusion of the Sale Hearing, the Bankruptcy Court makes any modifications to any proposed
form of Sale Order which modification was not approved by the Debtors and Buyer prior to entry
of such order, the Debtors and Buyer shall have five (5) Business Days after the entry of such
order to raise any objections to such modifications.

              (d)     The Sale Order, shall, among other things,

                      (i)   determine that (i) this Agreement was entered into by Debtors and
              Buyer in good faith and represents the Highest and Best offer for the Transferred
              Assets and should be approved, and (ii) Buyer is a good faith purchaser under
              Section 363(m) of the Bankruptcy Code and that the provisions of Section 363(n)
              of the Bankruptcy Code have not been violated;

                     (ii)    authorize and direct Debtors to sell the Transferred Assets to Buyer
              pursuant to this Agreement and Sections 363 of the Bankruptcy Code, free and
              clear of all Liens, Claims and Interest under Section 363(f) of the Bankruptcy
              Code to the maximum extent permitted by the Bankruptcy Code, except for the
              Permitted Post-Closing Liens;

                     (iii)  authorize the Debtors, as applicable, to assume and assign the
              Desired 365 Contracts under Sections 365 of the Bankruptcy Code and to pay the
              applicable Cure Costs,

                      (iv)   authorize the Debtors to execute, deliver, perform under,
              consummate and implement, the documents necessary to carry out the
              transactions contemplated hereby, together with all additional instruments and
              documents that may be reasonably necessary or desirable to implement the
              foregoing;


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                      (v)     provide that Buyer will not assume or be liable for any liabilities of
               the Debtors, other than the Specifically Assumed Liabilities;

                      (vi)    confirm that Buyer is not a “successor employer”, or liable under
               any theory of transferee liability for the obligations of Debtors except for the
               Specifically Assumed Liabilities, and

                       (vii) contain such other provisions as may be necessary or reasonably
               desirable or appropriate to give effect to the documents necessary to carry out the
               transactions contemplated hereby, including without limitation, provisions for the
               Debtors and Buyer to obtain approval of the assumption and assignment of all
               Desired 365 Contracts that have not been assumed prior to entry of the Sale
               Order.

                (e)   Except as permitted under this Agreement, the Debtors agree that, once
filed with the Bankruptcy Court, they will not modify any provision of the Disclosure Statement,
the Plan or any schedules or exhibits thereto in any manner that materially or adversely affects
Buyer or that materially impairs or materially delays the Closing except with Buyer’s prior
written consent.

               (f)     If entry of the Bidding Procedures Order, the Sale Order or any other
orders of the Bankruptcy Court relating to the Transactions, shall be appealed or otherwise
challenged by any party (including by petition for certiorari or motion for reconsideration,
amendment, clarification, modification, vacation, stay, rehearing or reargument), the Debtors
agree to diligently oppose such appeal, challenge, petition or motion and to use all commercially
reasonable efforts to obtain an expedited resolution of any such appeal, petition or motion.

    Section 5.04      Assumption and Rejection of Executory Contracts and Leases.

               (a)     Within seven (7) Business Days after the date hereof and from time to
time thereafter as provided herein, the Buyer shall deliver to Debtors a list of the 365 Contracts
that Buyer desires to be assumed by the Debtors and assigned to Buyer (collectively, the
“Desired 365 Contracts”), which shall then be attached hereto as Schedule 5.04; provided,
however, that Buyer and Debtors agree that the Desired 365 Contracts shall not include the
Debtors’ agreements with HMS/Med Host for electronic medical records and related services.
As promptly as practicable following the designation by Buyer of any 365 Contract as a Desired
365 Contract, to the extent not already in progress, the Debtors shall commence appropriate
proceedings before the Bankruptcy Court and otherwise take all necessary actions in order to
determine the Cure Costs with respect to such Desired 365 Contract and to effect the assumption
of such Desired 365 Contract by the Debtors and Hospital LP in accordance with the Bankruptcy
Code at the Closing, such assumption to be effective as of the Effective Time. Notwithstanding
the foregoing, (x) at any time prior to twenty-one (21) calendar days before the Closing Buyer
may designate any 365 Contract that has not been rejected as a Desired 365 Contract and upon
receipt of any such designation the Debtors shall use reasonable efforts to effect the assumption
of such 365 Contract by the Debtors in accordance with the Bankruptcy Code and, if the Debtors
are successful in effecting such assumption as of Closing, such 365 Contract shall become a
Desired 365 Contract and (y) at any time prior to the Closing Buyer may designate any Desired


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365 Contract as one that Buyer no longer desires to have assumed and such 365 Contract shall be
deemed not to be a Desired 365 Contract.

               (b)     At the Closing, the Debtors shall pay from the Purchase Price all Cure
Costs with respect to the Desired 365 Contracts. Buyer will provide adequate assurance of future
performance of all of the Desired 365 Contracts so that all Desired 365 Contracts can be assumed
by Debtors at or prior to the Closing in accordance with the provisions of Section 365 of the
Bankruptcy Code and this Agreement. In that regard, Buyer acknowledges and agrees that
Buyer may have to provide information regarding Buyer, as well as a financial commitment of
performance by Buyer with respect to the Desired 365 Contracts from and after the Closing to
demonstrate adequate assurance of the performance of the Desired 365 Contracts; provided,
however, Buyer shall not be required to provide any otherwise “material, non-public
information” (as such term is used under federal securities law) to satisfy the requirement to
provide adequate assurance of future performance, unless the proposed recipient of material,
non-public information provides a confidentiality agreement as contemplated by Regulation FD
under the Securities Exchange Act of 1934 that is reasonably acceptable in form to Buyer.

               (c)     The Debtors agree to provide to Buyer a copy of any motion, notice,
application or other court document filed with, and any proposed orders submitted to, the
Bankruptcy Court seeking authorization to assume or reject any Desired 365 Contract, enter into,
amend or waive any provision of any Contract, other than as permitted under Section 5.01, in
advance of filing (with a reasonable opportunity to review and comment on same) all of which
must be, prior to filing, in form and substance reasonably satisfactory to Buyer in all material
respects.

                (d)    Notwithstanding anything to the contrary contained in this Agreement if
the sale, conveyance, assignment or transfer, or attempted sale, conveyance, assignment or
transfer, to Buyer of any License, Permit, certificate, approval, authorization, agreement,
contract, lease, or other commitment included in the Transferred Assets (“Non-Transferable
Assets”) is determined by the Bankruptcy Court to be nonassignable without consent (other than
of an Affiliate of Debtors, in which case such Debtor covenants and agrees to cause such
Affiliate to render such consent), the Closing shall proceed, but the Closing shall not constitute
the sale, conveyance, assignment, transfer or delivery or assumption of any such Non-
Transferable Asset, and this Agreement shall not constitute a sale, conveyance, assignment,
transfer or delivery or assumption of any such Non-Transferable Asset, unless and until such
consent is obtained; provided, however, the Debtors shall use commercially reasonable efforts to
obtain any such consents related to the Non-Transferable Assets, and Buyer and Debtors shall
reasonably cooperate with each other in any arrangement commercially reasonable to provide
that Buyer shall receive the interest of the Debtors in the benefits under any such Non-
Transferable Asset until such time as such consents shall have been obtained, and each of the
Buyers and Debtors shall reasonably cooperate with the other party in any such commercially
reasonable arrangement, including performance by the Debtors as agent if commercially
reasonable to Buyer.

   Section 5.05      Access to Information. From the date hereof until the Closing and
subject to Applicable Law (including Patient Privacy Requirements) and the Confidentiality
Agreement, the Debtors shall (i) give to Buyer and its Representatives reasonable access during

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normal business hours to the offices, properties, books and records of the Debtors (including Tax
Returns with respect to the Transferred Assets), (ii) furnish to Buyer and its Representatives such
financial and operating data and other information available as of the date hereof or that becomes
available at any time prior to the Closing Date as such Persons may reasonably request in
connection with the Transactions, and (iii) instruct its Representatives to cooperate with Buyer in
its investigations; provided, however, that in no event shall any Person be obligated to provide
(A) any information the disclosure of which would cause the loss of any legal privilege available
to any Person relating to such information or would cause any Person to breach a confidentiality
obligation to which it is bound, or (B) access for any invasive environmental testing of any
property and no Party shall be entitled to conduct any invasive environmental testing at, on or
under any property. Any investigation pursuant to this Section 5.05 shall be conducted in such
manner as not to interfere unreasonably with the conduct of the Business of the Debtors or their
Representatives.

    Section 5.06       Post-Closing Collection of Accounts Receivable. After the Closing
Date, Buyer shall have the right and authority to collect for its own account all Accounts
Receivable that are related to Transferred Assets. Debtors shall promptly transfer and deliver to
Buyer any cash or other property which such Debtors may receive in respect of such Accounts
Receivable that are related to Transferred Assets and any other amounts received by Debtors
related to the Transferred Assets for any period after the Closing Date.

    Section 5.07      Name Change. On the Closing Date, Debtors other than Hospital LP
shall take such corporate and other actions necessary to change their corporate and company
names to ones that are not similar to, or confusing with, their current names.

                                          ARTICLE 6

                                  COVENANTS OF BUYER

    Section 6.01      Bankruptcy Proceedings. Buyer will provide or cause to be provided to
Debtors all information reasonably requested by Debtor concerning Buyer and its respective
assets and businesses as is required to be included in the Disclosure Statement to satisfy the
requirements of Section 1125 of the Bankruptcy Code, the Bankruptcy Rules or any order of the
Bankruptcy Court (all such information provided by Buyer in writing specifically for use in the
Disclosure Statement the “Buyer Disclosure Statement Information”). Buyer Disclosure
Statement Information shall include all available information relating to any actual or proposed
employment contract, consulting arrangement, compensation arrangement or other Contract
between or among Buyer and/or its Affiliates on the one hand and any “insider” of any Debtor or
Hospital LP (as defined in Section 101(31) of the Bankruptcy Code) on the other hand.

     Section 6.02      Access. Buyer, following the Closing, and subject to Applicable Law
(including Patient Privacy Requirements), the Confidentiality Agreement, any other applicable
confidentiality provisions, shall give to the Debtors and their Representatives reasonable access
during normal business hours to the offices, books and records relating to Debtors, their Business
and operations for any and all periods prior to or including the Closing Date as the Debtors and
their Representatives may reasonably request and to make copies of the same in connection with
(a) the preparation of Tax returns or information returns, (b) reports or other obligations by the

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Debtors to Governmental Authorities, (c) with respect to the administration of the Bankruptcy
Cases, (d) pursuing, prosecuting, or commencing litigation on Avoidance Actions, (e) objecting
to proofs of claims or administrative expense claims, and (f) any final determination of any audit
or examination, Proceeding, or determination; provided, however, that the obligation of Buyer to
so accommodate the Debtors and their Representatives shall be subject to (A) reasonable notice
from the Debtors of any request for information, (B) the Debtors’ agreement to reimburse Buyer
its out-of-pocket expenses of such accommodation, (C) reasonable limitations on frequency and
duration of the Debtors’ requests, (D) non-interference with the ordinary conduct of business of
Buyer, and (E) the right of Buyer to refuse any request for information that would result in a loss
of privilege or a breach of any confidentiality obligation of Buyer. Buyer shall preserve all such
books and records for a period of seven (7) years after the Closing or such longer period as may
be required by Patient Privacy Requirements; provided, however, that Buyer shall have the right
at any time after the second anniversary of the Closing Date to request in writing that the Debtors
(so long as the Debtors are in existence) take any such records and, if they do not agree to take
such records within ninety (90) Business Days after receipt of the request, Buyer may dispose of
such records, subject to Patient Privacy Requirements.

    Section 6.03       Indemnification. Buyer shall protect, defend, indemnify and hold each
Debtor, each of its successors and its respective Representatives and owners harmless from and
against any and all claims and losses: (i) arising out of or relating to or otherwise associated with
any material untrue statement or omission made in the Disclosure Statement in reliance upon and
in conformity with the Buyer Disclosure Statement Information, (ii) caused directly or indirectly
by the entry of Buyer or any Person acting on Buyer’s behalf, onto any property owned by or
under the control of Debtors in connection with any due diligence conducted pursuant to or in
connection with this Agreement; provided, however, that the foregoing indemnity shall not
extend to, and in no event shall Buyer be liable to Debtors to the extent of the gross negligence
or willful misconduct of Debtors or any of their Affiliates, and (iii) for any pay and benefits
owed to the Debtors’ employees under the WARN Act or any other liability under the WARN
Act in the event that Buyer does not make offers of employment to the Debtors’ employees
employed as of the Closing Date sufficient in number to avoid triggering application of the
WARN Act.

    Section 6.04       Employee Matters.

               (a)    On or after the Closing Date and subject to satisfaction of Buyer’s
employment screening procedures and requirements, Buyer may, but shall not be required to,
offer employment to Debtors’ employees engaged in the Business upon such terms and
conditions as Buyer may determine in its sole discretion (the “Transferred Employees”).
Debtors shall cooperate with Buyer in permitting Buyer to interview, on a voluntary basis,
Debtors’ employees so as to make selection decisions and communicate any information
concerning employment offers and potential employment with Buyer prior to the Closing Date
so that any employees who are hired by Buyer may commence employment on the Closing Date.
Buyer shall not have any obligation to employ any of Debtors’ employees. In the event the
employment of any employee of Debtor is terminated by a Debtor in connection with the
transactions contemplated by this Agreement, Debtor will make all termination, severance and
other payments due to such employee in connection with his or her termination of employment
only as may be required by Applicable Law or any ERISA Plan.

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                (b)     Except with respect to the Specifically Assumed Liabilities and the health,
dental and vision ERISA Plans and their related insurance contracts listed on Schedule 6.04(b),
Buyer shall not assume, and Debtor shall retain, any liability or obligation whatsoever of Debtor
relating to any of the ERISA Plans or any of its affiliates providing employee benefits to
individuals performing services for Debtor, or any liability or obligation with respect to
compensation or employee benefits of any nature owed to employees, former employees, agents,
or independent contractors of Debtor or, to the extent performing services for Debtor, any of its
affiliates, whether or not employed or engaged by the Buyer after the Closing, that arises out of
or relates to (i) the employment or service provider relationship with Debtor (including
termination of such employment or service provider relationship) or (ii) to any ERISA Plan or
employee benefit plan of its affiliates. Each ERISA Plan listed on Schedule 6.04(b) which is
fully insured shall, at Buyer’s sole discretion and option, be transferred to and assumed by
Buyer and Buyer and/or Buyer’s Affiliates shall have all liability with respect thereto, including
COBRA continuation coverage for any qualified beneficiaries, but excluding any liability with
respect to premiums due for the period prior to the Closing Date, or any violations of the plan
documents or Applicable Law that occurred prior to Closing. Each ERISA Plan listed in
Schedule 6.04(b) which is not fully insured, will not be assumed by Buyer, and, in such event,
Sellers shall remain responsible for COBRA continuation coverage under such ERISA Plan after
the Closing. Except with respect to any ERISA Plan of an ERISA Affiliate that covers such
ERISA Affiliate’s employees that are not Debtors’ employees, all other ERISA Plans shall be
terminated by Debtors immediately prior to the Closing if Buyer elects to require such
termination. Not less than ten days before the Closing Date Buyer shall identify the Transferred
Employees to Debtors. Immediately prior to the Closing Debtor shall terminate the employment
of any employees employed in the Business who are not identified as Transferred Employees.

               (c)     Each offer of employment by Buyer to an employee pursuant to this
Section 6.04 shall initially provide each Transferred Employee with (i) total target annual cash
compensation which is substantially comparable, on an aggregate basis, to the base salary (or
hourly wages, if applicable) and target bonus compensation provided by Debtor immediately
prior to the Effective Time and (ii) other employee benefits (excluding equity incentive
compensation) which are substantially comparable, in the aggregate, to the employee benefits
(excluding equity incentive compensation) provided to similarly-situated employees of Buyer.
For purposes of eligibility and vesting under each benefit plan of Buyer in which such
Transferred Employees are eligible to participate following the Effective Time that is intended to
be qualified under Section 401(a) of the Code, Transferred Employees will be given credit for all
service with Debtor, and any subsidiaries or predecessor employers for which Debtor credited
service, provided such credit is permitted under the terms of the applicable plans and does not
result in duplication of benefits. Buyer will give each Transferred Employee credit for such
Transferred Employee’s balance of paid time off as of the Closing Date; provided, however, that
Buyer shall not be required to pay any amounts with respect such paid time off except in
accordance with Applicable Law or Buyer’s employee benefit plans.

                (d)      Subject to limitations imposed by Applicable Law, with respect to the
employee welfare benefit plans maintained by Buyer following the Effective Time in which the
Transferred Employees are eligible to participate, Buyer shall use commercially reasonable
efforts to (i) waive, or cause to be waived, any limitations on benefits relating to waiting periods,
pre-existing condition exclusions or actively at work requirements, except to the extent that such

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waiting period, exclusions or requirements applied to the Transferred Employee under the
corresponding ERISA Plan and (ii) recognize any deductibles and other eligible expenses that
were incurred by such Transferred Employees in the plan year in which the Effective Time
occurs with respect to satisfying any deductibles or out-of-pocket maximums applicable to such
Transferred Employee during the applicable plan year of the comparable Buyer benefit plan, to
the extent such recognition would have been given under comparable ERISA Plans prior to the
Effective Time.

               (e)    Sellers shall take all actions necessary to transfer the insured ERISA Plans
and their related insurance contracts listed on Schedule 6.04(b) to the Sellers on the Closing
Date.

               (f)    Nothing in this Agreement is intended to confer on any entity or individual
who is not a party to this Agreement any rights whatsoever. This Section 6.04 shall not
constitute an amendment to any employee benefit plan maintained by Buyer or a Debtor, create
any third party beneficiary rights, or inure to the benefit of or be enforceable by, any employee
or any Person representing the interests of employees.

                                           ARTICLE 7

                      COVENANTS OF DEBTORS AND THE BUYER

    Section 7.01       Commercially Reasonable Efforts; Further Assurances.

                (a)     Subject to the terms and conditions of this Agreement and subject to the
Bankruptcy Code and any orders of the Bankruptcy Court, Buyer and the Debtors each shall use
commercially reasonable efforts to take, or cause to be taken, all actions and to do, or cause to be
done, all things necessary or desirable to consummate the Transactions, including (i) finalizing,
executing and delivering all Transaction Documents prior to the Closing, (ii) preparing and filing
as promptly as practicable with any Governmental Authority or other Third Party all
documentation to effect all necessary filings, notices, petitions, statements, registrations,
submissions of information, applications and other documents, and (iii) obtaining and
maintaining all approvals, consents, registrations, permits, authorizations and other
confirmations required to be obtained from any Governmental Authority or other Third Party
that are necessary, proper or advisable to consummate the Transactions; provided, however, that
the reasonable efforts of any Party hereto shall not include (A) except as expressly set forth in
this Agreement, entering into any settlement, undertaking, consent decree, stipulation or
agreement with any Governmental Authority in connection with the Transactions or
(B) divesting or otherwise holding separate (including by establishing a trust or otherwise) any
assets of the Debtors or Buyer. Prior to the Closing Date, the Debtors shall provide Buyer with
an updated list of all Debtors’ employees, by location, who have suffered an “employment loss”
(as defined in the WARN Act) during the three (3)-month period prior to the Closing Date. The
Debtors and Buyer shall execute and deliver or cause to be executed and delivered such other
documents, certificates, agreements and other writings and to take such other actions as may be
necessary or desirable in order to consummate or implement expeditiously the Transactions in
accordance with the terms and conditions of this Agreement and the Plan.


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                (b)    To the extent required under Applicable Law or any Healthcare
Requirement, Buyer shall file with Medicare and other Governmental Authorities documentation
notifying such Governmental Authorities of a change of ownership (“CHOW”) of the Facilities
effective as of the Closing Date. Debtors shall assist and cooperate with Buyer to take all actions
necessary to transfer the Permits (to the extent transferable) for the Facilities, including the filing
of CHOW documents as the seller, and any other governmental approvals necessary for Buyer to
operate the Facilities in the same manner as the Debtors. To avoid disruption in billings and
collections, Debtors covenant and agree to reasonably cooperate with Buyer in order to permit
Buyer to submit claims for services provided after the Closing Date utilizing the Medicare and
Medicaid provider numbers issued to Debtors, if applicable, until Buyer’s receipt of written
notification from the Centers for Medicare & Medicaid Services (“CMS”) that CMS has
processed and approved Buyer’s CHOW application and Texas Health and Human Services
Commission has processed and approved Buyer’s Medicaid application. As of the Closing Date,
Debtors shall cease using such provider numbers, if applicable, except to the extent necessary for
the ongoing collection of any of Debtors’ Accounts Receivable in accordance with the terms of
this Agreement.

     Section 7.02      Termination Cost Reports. To the extent required under Applicable
Law or any 365 Contract, Buyer shall file with Governmental Payors and any other third party
payors any Cost Reports relating to periods ending on or before the Closing Date, or otherwise
required to be filed as a result of the consummation of the Transactions. All such Cost Reports
shall be filed by Buyer in a manner that is consistent with the then current Applicable Law.
Buyer shall provide Debtors with a reasonable opportunity to review such Cost Reports before
filing. Buyer shall be responsible for completing and filing Cost Reports for the periods
beginning after the Closing Date. Each of the parties shall provide reasonable access to their
respective employees and records to the other party for the purpose of completing all such Cost
Reports.

     Section 7.03      Certain Filings. The Debtors and Buyer shall cooperate with one another
(i) in determining whether any action by or in respect of, or filing with, any Governmental
Authority is required, or any actions, consents, approvals or waivers are required to be obtained
from parties to any material contracts, in connection with the consummation of the Transactions
and (ii) in taking such actions or making any such filings, furnishing information required in
connection therewith and seeking timely to obtain any such actions, consents, approvals or
waivers.

    Section 7.04       Public Announcements. The consent (as to both form and content) of the
other Party shall be obtained prior to issuing any press release or making any public statement
with respect to this Agreement or the other Transaction Documents or the Transactions.
Notwithstanding the foregoing, the Debtors may file this Agreement and the other Transaction
Documents with the Bankruptcy Court upon execution of this Agreement if they determine that
such filing is appropriate and/or may inform the Bankruptcy Court of the existence and terms of
this Agreement. In addition, the Debtors may share this Agreement with MidCap and with the
Official Committee of Unsecured Creditors appointed in the Bankruptcy Cases, pursuant to the
confidentiality agreements between the Debtors and the Official Committee of Unsecured
Creditors for the sharing of confidential information.


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   Section 7.05       Notices of Certain Events. Each of the Debtors, on the one hand and
Buyer, on the other hand, shall promptly notify the other of:

                (a) any written notice or other communication received by it from any Person
alleging that the consent of such Person is or may be required in connection with the
Transactions;

              (b) any written notice or other communication received by it from any
Governmental Authority in connection with the Transactions;

                 (c) any Proceedings commenced or, in the case of the Debtors, to Debtors’
Knowledge, or in the case of Buyer, to its knowledge, threatened against, relating to or involving
or otherwise affecting the Debtors or Buyer, respectively, as the case may be, that, if pending on
the date of this Agreement, would have been required to have been disclosed pursuant to any
section of this Agreement or that relate to the consummation of the Transactions;

                (d) in the case of the Debtors, the damage or destruction by fire or other
casualty of any material assets used in the Business or any material asset used in the Business
becomes the subject of any Proceeding or, to Debtors’ Knowledge, threatened Proceeding for the
taking thereof or any part thereof or of any right relating thereto by condemnation, eminent
domain or other similar governmental action;

                 (e) any inaccuracy of any representation or warranty contained in this
Agreement at any time during the term hereof that could reasonably be expected to cause the
conditions set forth in Section 8.02(a) and Section 8.03(a) not to be satisfied, in the case of
Buyer, to its knowledge, or in the case of the Debtors, to Debtors’ Knowledge; and

                 (f) any failure of that Party to comply with or satisfy in any material respect
any covenant, condition or agreement to be complied with or satisfied by it hereunder; provided,
however, that the delivery of any notice pursuant to this Section 7.05 shall not limit or otherwise
affect the remedies available hereunder to the Party receiving such notice.

    Section 7.06        Confidentiality. Buyer and the Debtors are subject to confidentiality
agreements relating to the transactions contemplated hereby (the “Confidentiality Agreement”).
Notwithstanding anything to the contrary in the Confidentiality Agreement, to the extent of any
conflict between the provisions of the Confidentiality Agreement and the terms hereof, the terms
hereof shall prevail. This Agreement will be filed with the Bankruptcy Court, may be distributed
as an exhibit to the Plan and the Disclosure Statement and may be included or summarized in
such pleadings and documents, and that any such disclosures shall not violate this section. The
Parties also agree that such disclosure or any other permitted disclosure in Section 7.04 shall not
be deemed to violate any confidentiality obligations owing to any Party, whether pursuant to this
Agreement, the Confidentiality Agreement or otherwise. Notwithstanding the foregoing, this
Section 7.06 and the Confidentiality Agreement shall not in any way limit, to the extent required
by Applicable Law, the disclosure of information by the Debtors in connection with the
administration of the Bankruptcy Cases, pursuant to any provision of the Bankruptcy Code or
any order of the Bankruptcy Court. The Parties further agree that neither this Section 7.06 nor
the Confidentiality Agreement shall prohibit disclosure of information necessary or appropriate


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for obtaining Regulatory Approvals for the Transaction or the disclosure by Buyer of this
Agreement, the terms hereof or any information required in connection with any public filings
with the Securities Exchange Commission as Buyer may deem necessary or to Buyer’s financing
sources for the Transaction.

    Section 7.07        Mail and Other Post-Closing Inquiries. Debtors authorize Buyer on and
after the Closing Date to receive and to open all mail received by Buyer relating to any of the
Retained Assets. Debtors shall promptly deliver to Buyer any mail or other communication
received by Debtors after the Closing Date pertaining to any of the Transferred Assets. Buyer
shall promptly deliver to Debtors all other mail or communications received by Buyer or its
Affiliates that relates to the Retained Assets or Retained Liabilities or to possible violations of
Section 362 of the Bankruptcy Code.

     Section 7.08     Exclusivity. Debtors represent that, other than the transactions
contemplated by this Agreement, Debtors are not parties to or bound by any agreement with
respect to a possible merger, sale, restructuring, or other disposition of all or any part of the
Transferred Assets. No Debtor shall, directly or indirectly (i) solicit or negotiate or engage in
discussion with respect to any Alternative Proposal or provide Confidential Information to any
Person, regardless of whether such offer was unsolicited, participate in any effort or attempt by
any Person (other than Buyer or its Affiliates) to do or seek to do any of the foregoing,
(ii) execute an Alternative Proposal, or (iii) except as provided in this Agreement, seek or
support Bankruptcy Court approval of a motion or Order inconsistent in any way with the
transactions contemplated in this Agreement.

                                            ARTICLE 8

                                  CONDITIONS TO CLOSING

    Section 8.01      Conditions to Obligations of Buyer and Debtors. The obligations of
Buyer and the Debtors to consummate the Closing are subject to the satisfaction of each of the
following conditions:

                  (a)   No Applicable Law shall prohibit the Transactions or the consummation
of the Closing;

                  (b) The Bankruptcy Court shall have entered an order approving the
Transactions (the “Sale Order”), which Sale Order shall have become a Final Order and in full
force and effect;

                (c) All actions by or in respect of or filings with any Governmental Authority
required to permit the consummation of the Closing shall have been taken, made or obtained; and

                  (d) No Proceeding instituted by any Governmental Authority shall be pending
and no injunction, order, decree or judgment of any Governmental Authority of competent
jurisdiction shall be in effect, in each case which seeks to or does, as applicable, prohibit, restrain
or enjoin the consummation of the Plan or the Transactions; provided, however, that the Party
seeking to rely on this Section 8.01(d) as a basis not to consummate the Closing must have used


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commercially reasonable efforts to cause such Proceeding to have been dismissed or resolved in
favor of the Parties or to prevent the entry of such injunction, order, decree or judgment.

    Section 8.02      Conditions to Obligations of Buyer. The obligation of Buyer to
consummate the Closing is subject to the satisfaction (or waiver by Buyer) of each of the
following further conditions:

                (a) Debtors shall have performed in all material respects all of their covenants
and other obligations hereunder required to be performed by them on or prior to the Closing
Date;

                  (b) The representations and warranties of Debtors set forth in Article 3 of this
Agreement shall be true and correct at and as of the Closing Date, as if made at and as of the
Closing Date, other than those representations and warranties that are made as of a specific
earlier date which representations need not be true and correct as of the Closing Date but must be
true and correct as of such specific earlier date (except that, in each case, for purposes of this
Section 8.02(b), in determining whether such representations and warranties are true and correct,
all qualifications in such representations or warranties as to “material,” “in all material respects,”
Debtors Material Adverse Effect or similar materiality qualifiers shall be disregarded) except:
(A) for those failures to be true and correct as of the Closing Date that, individually or in the
aggregate, do not constitute a Debtors Material Adverse Effect; and (B) for changes therein
specifically contemplated or permitted by this Agreement or other Transaction Documents; and

                (c) Buyer shall have received a certificate signed by an executive officer of
Debtors with respect to the items set forth in Sections 8.02(a) and (b).

                 (d)   There shall not have been any event causing a Debtors Material Adverse
Effect.

                 (e) Debtors shall have delivered or be prepared to deliver all of the items
required by Section 2.08 and all other items required to be delivered by Debtors as of the Closing
Date pursuant to the terms and conditions of this Agreement.

                 (f) The Sale Order, in form and substance reasonably acceptable to Buyer,
shall have been entered by the Bankruptcy Court prior to the Closing and such order shall be a
Final Order and in full force and effect.

                  (g) No event or circumstance shall exist that would reasonably be expected to
prevent Hospital LP from being able to operate the Facilities in accordance with Applicable Law
in all material respects and in the Ordinary Course of Business immediately after the Closing,
including with respect to Permits existing immediately prior to Closing and with respect to
receiving reimbursement from Medicare and Medicaid.

                (h) Hospital LP shall be reinstated and in good standing with the Secretary of
State of Texas and Buyer shall have received certificates from the Secretary of State of Texas
and clearance letters from the Comptroller of Accounts of Texas evidencing the fact of such
reinstatement and good standing.


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    Section 8.03    Conditions to Obligations of Debtors. The obligation of Debtors to
consummate the Closing is subject to the satisfaction (or waiver by Debtors) of the following
further conditions:

                 (a) Buyer shall have performed in all material respects all of its covenants and
obligations hereunder required to be performed by it at or prior to the Closing Date;

                  (b) The representations and warranties of Buyer in Article 4 of this
Agreement shall be true and correct at and as of the Closing Date, as if made at and as of the
Closing Date, other than those representations and warranties that are made as of a specific
earlier date which representations need not be true and correct as of the Closing Date but must be
true and correct as of such specific earlier date (except that, in each case, for purposes of this
Section 8.03(b), in determining whether such representations and warranties are true and correct,
all qualifications in such representations or warranties as to “material,” “in all material respects,”
Buyer Material Adverse Effect or similar materiality qualifiers shall be disregarded) except:
(A) for those failures to be true and correct as of the Closing Date that, individually or in the
aggregate, do not constitute a Buyer Material Adverse Effect; and (B) for changes therein
specifically contemplated or permitted by this Agreement or other Transaction Documents; and

                (c) Debtors shall have received a certificate signed by an executive officer of
Buyer Parent with respect to the items set forth in Sections 8.03(a) and (b).

                 (d) Buyer shall have delivered or be prepared to deliver all of the items
required by Section 2.08 and all other items required to be delivered by Buyer as of the Closing
Date pursuant to the terms and conditions of this Agreement;

                 (e) The Sale Order in form and substance reasonably acceptable to Debtors,
shall have been entered by the Bankruptcy Court prior to the Closing and such order shall be a
Final Order and in full force and effect

                                            ARTICLE 9

                                         TERMINATION

   Section 9.01        Grounds for Termination. Subject to the penultimate sentence of this
Section 9.01, this Agreement may be terminated at any time prior to the Closing:

                 (a)   by mutual written agreement of Debtors and Buyer;

                 (b) by either Debtors or Buyer if the Closing and the effectiveness of the Plan
shall not have been consummated on or before December 31, 2015 (the “End Date”); provided,
however, that if the Closing shall not have occurred on or before such date due to a material
breach of any representation, warranty, covenants or agreements contained in this Agreement by
Buyer, on one hand, or the Debtors, on the other, then the breaching Party may not terminate this
Agreement pursuant to this Section 9.01(b);

             (c) by either Debtors or Buyer if there shall be any Applicable Law that
makes consummation of the Transactions illegal or otherwise prohibited or if consummation of

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the Transactions would violate any nonappealable final order, decree or judgment of any
Governmental Authority having competent jurisdiction;

               (d)   by Buyer if:

                    (i)     Debtors shall have breached any of their representations and
             warranties, or shall have failed to perform or comply with any of their covenants
             and agreements, contained in this Agreement such that the condition set forth in
             Section 8.02(a) shall not be satisfied, and Buyer shall have given at least fifteen
             days written notice to Debtors to cure such breaches and failures but such
             condition remains unsatisfied;

                   (ii)   any condition set forth in Section 8.01 or Section 8.02 shall have
             become incapable of being satisfied by the End Date;

                    (iii)   Debtors fail to consummate the transactions contemplated hereby,
             Buyer has otherwise complied with all of Buyer’s obligations under this
             Agreement, and all of the conditions contained in Section 8.01 and Section 8.03
             have been satisfied;

                     (iv)   any event has caused a Debtors Material Adverse Effect;

                     (v)    the Bankruptcy Cases are dismissed or converted to cases under
             Chapter 7 of the Bankruptcy Code or the Bankruptcy Court enters an order
             appointing a trustee or an examiner with expanded powers (beyond those set forth
             under Section 1106(a)(3) of the Bankruptcy Code) in the Bankruptcy Cases prior
             to the Closing Date;

                     (vi)  any of Debtors file a stand alone plan of reorganization or motion
             to approve a sale under section 363 of the Bankruptcy Code that involves a
             disposition of the Transferred Assets in a manner inconsistent with this
             Agreement;

                    (vii) the board of directors of any Debtor shall approve an Alternative
             Proposal (other than by Buyer), Debtors shall file a motion with the Bankruptcy
             Court seeking the approval of an Alternative Proposal, the Bankruptcy Court shall
             approve an Alternative Proposal (other than by Buyer); or

                      (viii) if (A) the Bankruptcy Court does not enter a Sale Order approving
             this Agreement on November 9, 2015, and (B) the Debtors do not file by
             November 10, 2015 a motion seeking Bankruptcy Court approval of bid
             protections in favor of Buyer providing that if an Alternative Proposal is closed
             Buyer will be entitled to the Expense Reimbursement and the Break-Up Fee, and
             (C) if filed, such motion referred to in the immediately preceding clause (B) is not
             approved by an order of the Bankruptcy Court entered no later than November 19,
             2015;

               (e)   by Debtors:

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                       (i)    if Buyer shall have breached any of its representations or
               warranties or failed to perform or comply with any of its covenants or agreements
               contained in this Agreement such that the condition set forth in Section 8.03(a)
               shall not to be satisfied, and Debtors shall have given at least 15 days written
               notice to Buyer to cure such breaches and failures but such condition remains
               unsatisfied;

                     (ii)   if any condition set forth in Section 8.01 or Section 8.03 shall have
               become incapable of being satisfied by the End Date; or

               (f)     Automatically upon consummation of an Alternative Proposal.

        Notwithstanding the foregoing, Debtors shall not be permitted to terminate this
Agreement pursuant to this Section 9.01 if they are in breach of any of their representations and
warranties or shall have failed to perform or comply with any of their covenants and agreements
such that either (A) the condition to Closing set forth in Sections 8.02(a) shall not be satisfied or
(B) such breach or failure to perform or comply by Debtors is the primary cause of the
occurrence of any event giving Debtors a right to terminate this Agreement or the failure of the
Closing to have occurred, and Buyer shall not be permitted to terminate this Agreement pursuant
to this Section 9.01 if Buyer is in breach of any of its respective representations and warranties or
shall have failed to perform or comply with any of its respective covenants and agreements such
that either (A) the condition to closing set forth in Sections 8.03(a) shall not be satisfied or (B)
such breach or failure to perform or comply by Buyer is the primary cause of the occurrence of
any event giving Buyer a right to terminate this Agreement or the failure of the Closing to have
occurred. The Party desiring to terminate this Agreement pursuant to this Section 9.01 (other
than pursuant to Section 9.01(a)) shall give written notice of such termination to the other Party.

    Section 9.02       Effect of Termination.

                (a)     If this Agreement is terminated as permitted by Section 9.01(a),
Section 9.01(b), Section 9.01(c), Section 9.01(d)(ii), or Sections 9.01(d)(iv) through (vi), and
such termination did not result from and was not caused by a breach or failure to perform by any
Party: (i) such termination shall be without liability of any Party (or any stockholder, owner or
Representative of such Party) to any other Party to this Agreement, (ii) this Agreement shall
thereafter become void and have no effect, except as otherwise set forth in this Agreement, and
(iii) the Deposit shall be returned to Buyer. If this Agreement is terminated as permitted by
Sections 9.01(d)(vii) or (viii), (i) such termination shall be without liability of any Party (or any
stockholder, owner or Representative of such Party) to any other Party to this Agreement,
(ii) this Agreement shall thereafter become void and have no effect, except as otherwise set forth
in this Agreement, (iii) the Deposit shall be returned to Buyer and (iv) if this Agreement is
terminated pursuant to Section 9.01(d)(vii) after the bid protection order referred to in
Section 9.01(d)(viii) has been entered by the Bankruptcy Court, Buyer shall also be entitled to
receive the Breakup Fee and Expense Reimbursement upon the closing of an Alternative
Proposal. The Breakup Fee and Expense Reimbursement shall be paid in cash concurrently with
the consummation and closing of an Alternative Proposal and shall be paid from the first
proceeds of such Alternative Proposal. The claim for such Breakup Fee and Expense
Reimbursement will constitute a superpriority administrative expense claim in the Debtors’ cases

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and in any successor estate of any chapter 7 proceeding following conversion of any of the
Debtors’ chapter 11 proceedings, pursuant to sections 364 and 503 of the Bankruptcy Code. Any
Breakup Fee and Expense Reimbursement payable pursuant to this Agreement will be allowed
and paid, without any further Bankruptcy Court approval or order.

               (b)    In the event that this Agreement is terminated by Debtors pursuant to
Section 9.01(e)(i), Debtors shall be entitled to receive the Deposit, which shall be the Debtors’
sole and exclusive remedy for such breach.

               (c)    Buyer and Debtors acknowledge that the agreements set forth in this
Section 9.02 are an integral part of the Transactions, and that without these agreements, Buyer
would not enter into this Agreement. Accordingly, if Debtors wrongfully fail to timely pay any
amount due pursuant to this Section 9.02, and, in order to obtain the payment, Buyer commences
a suit to enforce Buyer’s rights hereunder for the payment set forth in this Section 9.02, Debtors
shall pay to Buyers its reasonable costs and expenses (including reasonable attorneys’ fees),
which costs and expenses shall be treated as administrative expenses under Section 507(a)(2) of
the Bankruptcy Code and shall be payable as specified herein and not subject to any defense,
claim, counterclaim, offset, recoupment or reduction of any kind whatsoever.

               (d)    The provisions of Section 7.06, Article 9 and Article 10 shall survive any
termination hereof pursuant to Section 9.01.

                                         ARTICLE 10

                                      MISCELLANEOUS

    Section 10.01      Notices. All notices, requests and other communications to any party
hereunder shall be in writing (including facsimile transmission) and shall be given,

if to Buyer:

Foundation Surgical Hospital Holdings, LLC
14000 N. Portland Ave., Suite 200
Oklahoma City, OK 73134
Attention: Legal Department
Facsimile No.: 405-608-1835

with a copy to:

 McAfee & Taft A Professional Corporation
211 N. Robinson Ave., Tenth Floor
Oklahoma City, Oklahoma 73102
Attention: Louis. J. Price, Esq. and J. Michael Nordin, Esq.
Facsimile No.: [405-235-0439
Email: Louis.Price@mcafeetaft.com
        Mike.Nordin@mcafeetaft.com



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if to Debtors, to:

University General Health System, Inc.
7501 Fannin Street
Houston, Texas 77054
Attention: Edward T. Laborde, Jr.
Facsimile No.: 713-375-7105
Email: ELaborde@UGHospital.com

with a copy to:

Porter Hedges LLP
1000 Main, 36th Floor
Houston, Texas 77002
Attention:    Joshua W. Wolfshohl
              Nick D. Nicholas
Facsimile No.: (713) 226-6295
              (713) 226-6237
Email: jwolfshohl@porterhedges.com
        nnicholas@porterhedges.com

or such other address, facsimile number or electronic mail address as such party may hereafter
specify for the purpose by notice to the other parties hereto. All such notices, requests and other
communications shall be deemed received on the date of receipt by the recipient thereof if
received prior to 5:00 p.m. in the place of receipt and such day is a Business Day in the place of
receipt. Otherwise, any such notice, request or communication shall be deemed not to have been
received until the next succeeding Business Day in the place of receipt.

    Section 10.02       Survival. The representations and warranties contained herein and in any
certificate or other writing delivered pursuant hereto shall terminate upon and not survive the
Closing and there shall be no liability thereafter in respect thereof. Each of the covenants of the
Parties hereto contained in this Agreement shall terminate upon the Closing except to the extent
that performance under such covenant is to take place after Closing, in which case such covenant
shall survive the Closing until the earlier of (i) performance of such covenant in accordance with
this Agreement or, if time for performance of such covenant is specified in this Agreement, 60
days following the expiration of the time period for such performance and (ii) the expiration of
applicable statute of limitations with respect to any claim for any failure to perform such
covenant; provided, however, that if a written notice of claim with respect to any covenant to be
performed after Closing is given prior to the expiration of such covenant then such covenant
shall survive until, but only for purposes of, the resolution of such claim by final, non-appealable
judgment or settlement.

    Section 10.03      Amendments and Waivers.

                 (a) Any provision of this Agreement may be amended or waived prior to
Closing if, but only if, such amendment or waiver is in writing and is signed, in the case of an


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amendment, by each Party to this Agreement, or in the case of a waiver, by the Party against
whom the waiver is to be effective.

                 (b) No failure or delay by any Party in exercising any right, power or privilege
hereunder shall operate as a waiver thereof nor shall any single or partial exercise thereof
preclude any other or further exercise thereof or the exercise of any other right, power or
privilege. The rights and remedies herein provided shall be cumulative and not exclusive of any
rights or remedies provided by law.

    Section 10.04     Expenses. Except as otherwise expressly provided herein, all costs and
expenses incurred in connection with this Agreement or the Transactions shall be paid by the
Party incurring such cost or expense.

    Section 10.05      Successors and Assigns. The provisions of this Agreement shall be
binding upon and inure to the benefit of the Parties hereto and their respective successors and
assigns; provided, however, that no Party may assign, delegate or otherwise transfer any of its
rights or obligations under this Agreement, in whole or in part, by operation of law or otherwise,
without the prior written consent of each other Party hereto. Notwithstanding the foregoing,
Buyer may assign this Agreement and delegate the duties hereunder to an Affiliate provided that
no such assignment or delegation shall relieve Buyer of its duties hereunder.

  Section 10.06 Governing Law. THE AGREEMENT SHALL BE GOVERNED BY
AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF TEXAS,
WITHOUT REGARD TO PRINCIPLES OF CONFLICTS OF LAW.

    Section 10.07      Jurisdiction. Each Party hereto agrees that it shall bring any action or
proceeding in respect of any claim arising out of or related to the Transaction Documents and the
transactions contained in or contemplated by the Transaction Documents, exclusively in (a) the
Bankruptcy Court so long as the Bankruptcy Cases remain open and (b) after the close of the
Bankruptcy Cases or in the event that the Bankruptcy Court determines that it does not have
jurisdiction, the United States District Court for the Southern District of Texas or any Texas
State court sitting in Houston (together with the Bankruptcy Court, the “Chosen Courts”), and
solely in connection with claims arising under this Agreement or any other Transaction
Document or the Transactions (i) irrevocably submits to the exclusive jurisdiction of the Chosen
Courts, (ii) waives any objection to laying venue in any such action or proceeding in the Chosen
Courts, (iii) waives any objection that the Chosen Courts are an inconvenient forum or do not
have jurisdiction over any party hereto, and (iv) agrees that service of process upon such party in
any such action or proceeding shall be effective if notice is given in accordance with
Section 10.01.

  Section 10.08 WAIVER OF JURY TRIAL. EACH OF THE PARTIES HERETO
HEREBY IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY
LEGAL PROCEEDING ARISING OUT OF OR RELATED TO THE TRANSACTION
DOCUMENTS OR THE TRANSACTIONS CONTEMPLATED HEREBY.

   Section 10.09   Counterparts; Effectiveness; Third Party Beneficiaries.           This
Agreement may be signed in any number of counterparts, each of which shall be an original,


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with the same effect as if the signatures thereto and hereto were upon the same instrument. This
Agreement shall become effective when each Party hereto shall have received a counterpart
hereof signed by all of the other Parties hereto. Until and unless each Party has received a
counterpart hereof signed by the other Party hereto, this Agreement shall have no effect and no
Party shall have any right or obligation hereunder (whether by virtue of any other oral or written
agreement or other communication). No provision of this Agreement is intended to confer any
rights, benefits, remedies, obligations or liabilities hereunder upon any Person other than the
Parties hereto and their respective successors and assigns.

    Section 10.10      Entire Agreement. This Agreement, Confidentiality Agreement, the
other Transaction Documents, and the Sale Order constitute the entire agreement between the
Parties with respect to the subject matter hereof and thereof and supersede all prior agreements
and understandings, both oral and written, between the Parties with respect to the subject matter
hereof and thereof.

    Section 10.11      Severability. If any term, provision, covenant or restriction contained in
this Agreement is held by a court of competent jurisdiction to be invalid, void or unenforceable,
the remainder of the terms, provisions, covenants and restrictions of this Agreement shall remain
in full force and effect and shall in no way be affected, impaired or invalidated; and in lieu of
each such invalid, void or unenforceable provision there shall be added automatically as part of
this Agreement a provision as similar in terms to such invalid, void or unenforceable provision as
may be valid, binding and enforceable.

   Section 10.12     Time of Essence. Time is of the essence in the performance of this
Agreement, except as otherwise expressly provided herein.

    Section 10.13     Certain Acknowledgements and Limitations.

                 (a) Any and all duties and obligations which any Party may have to any other
Party with respect to or in connection with this Agreement, the other Transaction Documents or
the Transactions are limited to those specifically set forth in this Agreement and the other
Transaction Documents. Neither the duties nor obligations of any Party, nor the rights of any
Party, shall be expanded beyond the terms of this Agreement and the other Transaction
Documents on the basis of any legal or equitable principle or on any other basis whatsoever.
Neither any equitable or legal principle nor any implied obligation of good faith or fair dealing
nor any other matter requires any Party to incur, suffer or perform any act, condition or
obligation contrary to the terms of this Agreement and the other Transaction Documents,
whether or not existing and whether foreseeable or unforeseeable. Each of the Parties
acknowledges that it would be unfair, and that it does not intend, to increase any of the
obligations of the other Party on the basis of any implied obligation or otherwise.

          (b) EXCEPT FOR THE REPRESENTATIONS AND WARRANTIES
MADE BY THE DEBTORS THAT ARE EXPRESSLY SET FORTH IN ARTICLE 3 OF
THIS  AGREEMENT,   NEITHER    DEBTORS,  NOR   ANY    OF   THEIR
REPRESENTATIVES HAVE MADE AND SHALL NOT BE DEEMED TO HAVE
MADE TO BUYER OR TO ANY OF THEIR REPRESENTATIVES ANY
REPRESENTATION OR WARRANTY OF ANY KIND.


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            (c) EXCEPT AS OTHERWISE EXPRESSLY SPECIFIED IN THIS
AGREEMENT, THE ASSETS AND BUSINESS OF DEBTORS ARE BEING ACQUIRED
BY BUYER AT THE CLOSING AS A RESULT OF THIS AGREEMENT AND THE
TRANSACTIONS CONTEMPLATED HEREBY SHALL BE ACQUIRED BY BUYER
(AND THE ASSETS OF HOSPITAL LP SHALL BE) ON AN “AS IS, WHERE IS” BASIS
AND IN THEIR THEN PRESENT CONDITION, AND BUYER SHALL RELY SOLELY
UPON ITS OWN EXAMINATION THEREOF. IN ANY EVENT, EXCEPT AS
EXPLICITLY SET FORTH HEREIN, NONE OF DEBTORS OR ANY OF THEIR
REPRESENTATIVES, AS THE CASE MAY BE, HAS MADE OR IS MAKING ANY
REPRESENTATION, EXPRESS OR IMPLIED, AS TO THE VALUE OF ANY ASSET
OR THE BUSINESS BEING SO ACQUIRED, OR ANY WARRANTY OF
MERCHANTABILITY, SUITABILITY OR FITNESS FOR A PARTICULAR PURPOSE
OR QUALITY, WITH RESPECT TO ANY OF THE TANGIBLE ASSETS BEING SO
ACQUIRED, OR AS TO THE CONDITION OR WORKMANSHIP THEREOF, OR AS
TO THE ABSENCE OF ANY DEFECTS THEREIN, WHETHER LATENT OR
PATENT.

           (d) EXCEPT FOR THE REPRESENTATIONS AND WARRANTIES
MADE BY BUYER THAT ARE EXPRESSLY SET FORTH IN ARTICLE 4 OF THIS
AGREEMENT, NEITHER BUYER, NOR ANY OF ITS REPRESENTATIVES HAVE
MADE AND SHALL NOT BE DEEMED TO HAVE MADE TO DEBTORS OR TO ANY
OF THEIR REPRESENTATIVES ANY REPRESENTATION OR WARRANTY OF ANY
KIND.

           (e) NO PERSON HAS BEEN AUTHORIZED BY DEBTORS TO MAKE
ANY REPRESENTATION OR WARRANTY RELATING TO DEBTORS OR THEIR
BUSINESS OR OPERATIONS OR ASSETS, OR OTHERWISE IN CONNECTION
WITH THE TRANSACTIONS EXCEPT FOR THOSE CONTAINED HEREIN AND, IF
MADE, SUCH REPRESENTATION OR WARRANTY MAY NOT BE RELIED UPON.

           (f) NO PERSON HAS BEEN AUTHORIZED BY BUYER TO MAKE
ANY REPRESENTATION OR WARRANTY RELATING TO BUYER OR ITS
BUSINESSES OR OPERATIONS, OR OTHERWISE IN CONNECTION WITH THE
TRANSACTIONS EXCEPT FOR THOSE CONTAINED HEREIN AND, IF MADE,
SUCH REPRESENTATION OR WARRANTY MAY NOT BE RELIED UPON.

           (g) UNDER NO CIRCUMSTANCES SHALL ANY PARTY TO THIS
AGREEMENT BE LIABLE FOR ANY SPECIAL, EXEMPLARY, PUNITIVE,
REMOTE, SPECULATIVE, INCIDENTAL, INDIRECT OR CONSEQUENTIAL
DAMAGES OR LIABILITIES ARISING OUT OF ANY ACTUAL, ALLEGED OR
INTENTIONAL BREACH OF THIS AGREEMENT, INCLUDING LOSS OF REVENUE
OR INCOME, DAMAGES BASED ON ANY MULTIPLIER OF PROFITS OR OTHER
VALUATION METRIC, COST OF CAPITAL, DIMINUTION OF VALUE OR LOSS OF
BUSINESS REPUTATION OR OPPORTUNITY, AND NO CLAIM SHALL BE MADE
OR AWARDED AGAINST ANY PARTY TO THIS AGREEMENT THEREFOR.

                       [Signatures continued on following page]

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                                        EXHIBIT A

                                   Locations of Facilities

A.     University General Hospital, a 69-bed acute care hospital owned and operated by
Hospital LP, with a campus located at 7501 Fannin Street, Houston, Texas 77054, and including
the hospital pharmacy, the hospital laboratory, the University Wound Healing and Hyperbaric
Center, and the MyQuest WeightLoss Center.




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                                     Disclosure Schedule

The following constitutes the Schedules referred to in the Asset Purchase Agreement (the
“Agreement”), dated November 6, 2015, by and among Foundation Surgical Hospital Holdings,
LLC, a Nevada limited liability company, or an Affiliate to which the Agreement is assigned in
accordance with its terms (“Buyer”), and University General Health System, Inc., a Nevada
corporation (“Seller Parent”), UGHS Autimis Billing, Inc., a Texas corporation, UGHS Autimis
Coding, Inc., a Texas corporation, UGHS ER Services, Inc., a Texas corporation, UGHS
Hospitals, Inc., a Texas corporation, UGHS Management Services, Inc., a Texas corporation,
UGHS Support Services, Inc., a Texas corporation, University Hospital Systems, LLP, a
Delaware limited liability partnership, and University General Hospital, LP, a Texas limited
partnership (“Hospital LP”) (singly, “Debtor” and collectively, “Debtors”). Capitalized terms
used in these Schedules but not defined herein shall have the meanings ascribed to such terms in
the Agreement. Any item that is disclosed in a particular section or subsection of the Schedules
shall be deemed to be disclosed and incorporated into each other section or subsection of the
Schedules where it is reasonably apparent on its face that such disclosure is relevant or
applicable to such other section or subjection. Headings have been inserted on the sections of
these Schedules for convenience of reference only and shall to no extent have the effect of
amending or changing the meaning or interpretation of the Agreement or the express description
of the sections of this Disclosure Schedule as set forth in the Agreement.




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                                 SCHEDULE 1.01-A

                           Medicare Provider Agreement(s)



The Health Insurance Benefit Agreement Dated December 21, 2006 between The Secretary of
Health and Human Services and University General Hospital, LP, together with and all
agreements ancillary thereto in connection with the attached correspondence.




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                                         SCHEDULE 2.02

                                       Other Retained Assets

1.      All claims, rights, defenses, offsets, recoupments, causes of action, credits, immunities or
rights of set-off against any of the following Persons:

          i.   Michael Griffin
         ii.   Donna Griffin
        iii.   Brandon Griffin
        iv.    Ryan Griffin
         v.    Jordan Griffin
        vi.    Samantha Griffin
       vii.    Globonics
      viii.    Randy Butler
        ix.    Management Affiliates of Northeast Houston, LLC
         x.    Ken Efird
        xi.    Nobilis Healthcare
       xii.    Crowe Horwath
      xiii.    PlainsCapital Bank
       xiv.    Emergency Medical Group, LLC d/b/a EliteCare EME
        xv.    Kingwood Emergency Center d/b/a Neighbors Emergency Center
       xvi.    Siemens Medical Solutions
      xvii.    Reed Migraine Centers of Texas, PLLC
     xviii.    Dr. Kenneth Reed


2.      All rights to any Director and Officer insurance policy maintained by any Debtor or its
Affiliates, including any proceeds therefrom

3.     Property including equipment and furniture belonging to non-Debtors, including items
located in offsite storage facilities

4.         The artwork located in the CEO’s office at 7501 Fannin Street, Houston, Texas

5.    The framed diplomas, awards and similar personal items located at 7501 Fannin Street,
Houston, Texas




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                                     SCHEDULE 3.01

                              Corporate Existence and Power

1.    The matters disclosed with respect to the certificates of formation of Hospital LP, UGHS
Autimis Billing, Inc. and UGHS Autimis Coding, Inc., as described in item 3 of Schedule 3.11.




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                                        SCHEDULE 3.04

                                 Governmental Authorizations

1.      CHOW to be filed with CMS

2.      Notices and filings to reinstate the certificates of formation of Hospital LP, UGHS
        Autimis Billing, Inc. and UGHS Autimis Coding, Inc., as described in items 1 and 3 of
        Schedule 3.11.

3.      Any changes to the name of the Hospital will require notifications to the State of Texas,
        CMS, Harris County and the City of Houston

4.      Consents and notifications in connection with the permits and licenses listed on
        Schedule 3.14(d)

5.




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                                             SCHEDULE 3.06

                                               ERISA Plans

    1. Health Insurance Plan through Humana
    2. Dental Insurance Plan through MetLife
    3. Vision Insurance Plan through Fidelity EyeMed
    4. Life & Disability (long term and short term) Insurance Plan though Lincoln Life
    5. 401(K) Plan through Principal
    6. Tuition Reimbursement Plan - $2,000 per year staff, $6,000 per year for
       managers/directors
    7. PTO varies, with cash in at 80% rate.
    8. Below are the PTO accrual rates:

                                               Staff Employee
                                          Accrual Rate per Bi-Weekly Pay
         Years of Completed Service                                         Maximum Accrual Balance
                                                      Period
               Less than 5 years                       8.14                            120
         5 years but less than 10 years                 8.54                           200
                  10 + years                            9.23                           270

                                                  Manager
                                          Accrual Rate per Bi-Weekly Pay       Maximum Accrual
         Years of Completed Service
                                                      Period                       Balance
               Less than 5 years                        9.54                           200
         5 years but less than 10 years                 9.94                           280
                  10 + years                           10.25                           360



                                                   Resident Physician
      PGY – 1               Five (5) Vacation Days/Five (5) Sick Days
                            No more than five consecutive vacation days may be taken
      PGY – 2               Seven (7) Vacation Days/Five (5) Sick Days
                            No more than five consecutive vacation days may be taken
      PGY – 3               Ten (10) Vacation Days/Five (5) Sick Days
                            No more than five consecutive vacation days may be taken




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                                SCHEDULE 3.07

                              Environmental Matters



None.




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                                         SCHEDULE 3.09

                                          365 Contracts


    1. The Hospital LP is a party to medical directorship agreements with the following
       physicians:

                 i.   Felix Speigel
                ii.   Jorge Guerrero
              iii.    Joseph Varon
               iv.    Younan Nowzardan
                v.    John Thomas
               vi.    Khoa Nguyen
              vii.    Paul Sykes
             viii.    Henry Small
               ix.    Stan Duchman
                x.    Gerado Bueso
               xi.    Gearney Pearsall

    2. The Debtors are parties to the following contracts:

                i.    Abbott Eye Stat
               ii.    AIR LIQUIDE AMERICA CORP
              iii.    Alere Informatics, Inc.
              iv.     ALLIANCE MT INC
               v.     ALLIED HEALTH SERVICES
              vi.     Alvin Community college & UGH Associate Degree & Vocational Nursing
                      Affiliation Agreement
              vii.    AMERICA MEDICAL CONSULTANT
             viii.    American Society of Metabolic Bariatric Surgery Center Accreditation &
                      Quality Improvement Program
               ix.    AMERISOURCEBERGEN
                x.    Bank of America - Mammmography Baytown
               xi.    Barry Univeristy & UGH Education Podiatric Affiliation Agreement
              xii.    Bayer Laboratory
             xiii.    Baylor College of Medicine & UGH Podiatry Residency Training Agreement
              xiv.    Baylor College of Medicine & UGH Vascular Surgery Program Agreement
               xv.    BAYLOR PATHOLOGY
              xvi.    BAYLOR PATHOLOGY CONSULTANTS
             xvii.    Baytown Edoscopy Lease
            xviii.    BECKMAN COULTER
              xix.    Bell Tech Career Institute & UGH School Affiliation Agreement
               xx.    Biomerieux Service Agreement
              xxi.    C Foster & Advance functional Assessments Inc Lease Agreement 5150
                      Crenshaw
            xxii.     C Foster & Associates Seabrook Office sublease Agreement


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           xxiii.     C Foster Commerical Lease Amendment Nasa Parkway
           xxiv.      C Foster The Zone Final Lease
            xxv.      C. FOSTER & ASSOCIATES
           xxvi.      Cambridge Hospital Patient transfer Agreement
          xxvii.      Cambridge International - Hospital lease
         xxviii.      Cambridge International - Sublease Dr. Salvato
           xxix.      Cambridge International - Suite 703
            xxx.      Cambridge International - Suite 750
           xxxi.      Capella Fully signed Agreement
          xxxii.      Cardinal Health Pharmacutical
         xxxiii.      Care Plus EMS Inc & UGH EMT Transport Agreement
          xxxiv.      Chamberlain College of Nursing & UGH Affiliation Agreement
           xxxv.      Chamberlain College of Nursing & UGH IEP
          xxxvi.      Chamberlain College of Nursing Clinical Affiliation Agreement
         xxxvii.      CHRISTINA N. OLSON
        xxxviii.      CLINICAL PATHOLOGY LABS, INC
          xxxix.      College of Health Care Professions (CHCP) Affiliation Agreement
               xl.    Community Pathology & Baylor General Histology Processing Amendment
              xli.    COMPREHENSIVE CARE SERVICES,
             xlii.    Covidien
            xliii.    Curatio
            xliv.     CURATIO SOLUTIONS, LLC
             xlv.     Des Moines University Master Teaching Affiliation Agreement
            xlvi.     Edward Laborde Employment Agreement
           xlvii.     FASTAFF, INC
          xlviii.     FIRESAFE PROTECTION SERVICES
            xlix.     Fortis College - Surgical Technology
                 l.   Fortis College Sterile Processing Technical
                li.   Fujifilm Medical Systems USA Inc.
               lii.   FUSION MEDICAL STAFFING
              liii.   GOLDSMITH CONSULTANTS
              liv.    Grand Canyon Univeristy General Health System Inc.
               lv.    Gulf Coast Regional Blood Center
              lvi.    Hassan Chahadeh employment Agreement
             lvii.    HEALTHSTREAM, INC LEARNING SV
            lviii.    HEWLETT PACKARD
              lix.    Hewlett Packard
               lx.    HMS DIRECT
              lxi.    HMS Direct Services Agreement and Amendment
             lxii.    Houston Community College MOU
            lxiii.    Houston Community College MOU - - Lab Tech
            lxiv.     Houston Community College MOU - Assicate Deree Nursing
             lxv.     HUMANA HEALTH PLAN OF TEXAS
            lxvi.     I IMAGING
           lxvii.     I Imaging Radiology Agreement
          lxviii.     KARL STORZ ENDOSCOPY AMERICA



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               lxix.    Keller Center for Corp Learning of DeVry University Corp Education Proram
                        Agreement
                lxx.    Kent State University College of Podiatric Medicine & UGH Affiliation
                        Agreement
               lxxi.    Kindred & UGH Clinical Services Agreement
              lxxii.    Kindred Certification of Insurance
             lxxiii.    Kindred Hospital & UGH Out patient Services Agreement
             lxxiv.     Lamar State College - Port Arthur Upward Mobility Nursing Program
              lxxv.     Lamar University Fully signed Agreement
             lxxvi.     Marco Vargas DPM & UGH Podiatry Residency Program Letter of
                        Agreement
             lxxvii.    MARSH USA INC.
            lxxviii.    MEDHOST OF TENNESSEE
              lxxix.    Medical office building lease - Baytown Imaging
               lxxx.    MedOne Capital Funding
              lxxxi.    Memorial Herman Kingwood Surgical Hospital & UGH Podiatry Residency
                        Programm Affiliation
             lxxxii.    Memorial Herman Southwest & UGH School Affiliation Agreement
            lxxxiii.    Meridian Institute of Surgical Assisting, Inc. & UGH Statement of Affiliation
                        Agreement
         lxxxiv.        METRO LINEN SERVICE
          lxxxv.        METROPOLITAN LIFE INSURANCE C
         lxxxvi.        New York College of Podiatric Medicine Affiliation Agreement
        lxxxvii.        Nexus Specialty Hospital & UGH Letter of Guarantee
       lxxxviii.        North Harris Montgomery College District & UGH Educational Affiliation
                        Agreement
            lxxxix.     Northwest Anesthesilogy Pain Services UGH Anesthesia Services Agreement
                 xc.    Ortho-Clincial Diagnostics
                xci.    PAT'S PERSONAL POOL SERVICE
               xcii.    Perferred Medical Transportation & UGH EMT Transporation Agreement
              xciii.    PERRY WESLEY - Security
               xciv.    Phillips Ultrasound Agreement
                xcv.    PIMA Medical Institute Radiology & UGH Program Affiliation Agreement
               xcvi.    PRAXAIR DISTRIBUTION CO.
              xcvii.    PRESS GANEY ASSOCIATES, INC.
             xcviii.    Press Ganey BAA
               xcix.    Pristine Hospital of Pasadena & UGH Patient Transfer Agreement
                   c.   PROHEALTH STAFFING, LLC.
                  ci.   Protection 1 Karl Storz - Endoscope Agreements
                 cii.   Resolution Hospices, LLC & UGH Hospital Services Agreement
                ciii.   Roche Diagnostics Corporation Encompass Agreement
                civ.    Samuel Meritt University & UGH Podiatric Affiliation Agreement
                 cv.    San Jacinto Community College District & UGH Affiliation Agreement
                cvi.    San Jacinto Community College District (North Campus) & UGH Student
                        Affiliation agreement
               cvii.    Sanford Brown & UGH Allied Health Career program Affiliation agreement



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             cviii.    Select Speciality Hospital Houston LP (Heights Campus) & UGH Hopsital
                       Services Agreement
                cix.   SETRAC - Agreement for Emergency Preparedness
                 cx.   South Shore Surgicare & UGH Affiliation Agreement
                cxi.   South Shore Surgicare & UGH Podiatric Affiliation Agreement
               cxii.   SPRINGBOARD
              cxiii.   Springboard & UGH Supplement staffing Services Agreement
              cxiv.    Summer Energy Agreement
               cxv.    SUMMER ENERGY, LLC
              cxvi.    SUNBELT STAFFING
             cxvii.    Sunbelt Staffing Agreement Fully Executed
            cxviii.    Taleo Contract
              cxix.    TANIK HEARD - Revenue Cycle Contractor
               cxx.    Temple University School of Podiatric Medicine & UGH Affiliation
                       Agreement
              cxxi.    Texas Home Health Hospice & UGH Hospital Agreement
             cxxii.    Texas Speciality Hospital at Houston & UGH Purchased Services Agreement
            cxxiii.    The Manual Therapy Institute PLLC & Clint Foster Educational Program
                       Agreement
            cxxiv.     THI of Texas at Houston - Texas Speciality hospital of Houston - Now
                       Promise Hospital of Houston
              cxxv.    TOSHIBA AMERICA MEDICAL SYSTE
             cxxvi.    UGH & Universal American Hospital Participation Agreement
            cxxvii.    UGH and Clear Lake Surgicare dba Bay Shore Area Surgicare Affiliation
                       Agreement
         cxxviii.      UGH and South Shore Surgicare Affiliation Agreement
           cxxix.      UGHS C Foster lease guaranty
            cxxx.      UGHS Surgicare - the Woodlands & UGH Affiliation Agreement
           cxxxi.      Ultimate Medical Services & UGH Agreement
          cxxxii.      ULTIMATE MEDICAL SERVICES, IN
         cxxxiii.      University General Affiliation Agreement LVN
         cxxxiv.       University General Affiliation Agreement LVN San Jacinto
          cxxxv.       University General Histology Processing Addendum
         cxxxvi.       University General Hospital LP Lease Amendment - Seabrook Property
        cxxxvii.       University General Surgicare
       cxxxviii.       University of Houston & UGH Affiliation Agreement (Pharmacy)
         cxxxix.       University of Phoenix & UGHS Signed AMOU
              cxl.     University of Phoenix Fully signed Agreement
             cxli.     UT Health Science Center & UGH Edcuational Experience Affiliation
                       Agreement
              cxlii.   Waste Management aervice Agreement (3)
             cxliii.   WASTE MANAGEMENT OF TEXAS, IN
             cxliv.    Waste Management Service Agreement (1)
              cxlv.    West Oaks Hospital & UGH Mental Health Assessment Services Agreement
             cxlvi.    Western Univeristy of Health Sciences College of Podiatric Medicine and
                       UGH Affliation Agreement



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             cxlvii.    WGU clincial Education Agreement with UGH
            cxlviii.    Will School College of Podiatric Medicine & UGH Podiatric Clinical
                        Affiliation Agreement
             cxlix.     WORLDWIDE TRAVEL STAFFING, LT
                 cl.    Zirmed Master Contract
                cli.    ZIRMED, INC.
               clii.    Management Services Agreement, dated June 1, 2015, by and between UGHS
                        Management Services, Inc. and U G Hospital Alvin, LLC.

    3. Hospital LP is a party to contracts with the following payors:

                   i.   Payor
                  ii.   Amerigroup
                iii.    Blue Cross Blue Shield
                 iv.    Cigna
                  v.    Employer Direct Healthcare
                 vi.    Health Payors Org. dba HPO Pref Hospital
                vii.    Healthplace America
               viii.    Humana
                 ix.    Interplan Health Group
                  x.    Liberty County Hospital District No. 1
                 xi.    Managed Care Inc. dba Galaxy Health Network
                xii.    Medicare
               xiii.    Medicus International Inc.
               xiv.     MetLife
                xv.     Molina Healthcare
               xvi.     National Choicecare
              xvii.     National Provider Network
             xviii.     PlanCare America
               xix.     Planvista Solutions Inc. dba Medavant Healthcare Solutions
                xx.     SelectCare of Texas
               xxi.     St. Luke's
              xxii.     Superior Healthplan
             xxiii.     Texas Health Spring
              xxiv.     Three Rivers
               xxv.     UHC
              xxvi.     USFHP
             xxvii.     VA Backlog Reduction Plan
            xxviii.     TMHP 192673501




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                                        SCHEDULE 3.11

                                            Tax Items



    1. Franchise Tax Returns for Hospital LP have not been filed for 2014 and 2015.

    2. Income Tax Returns have not been filed for any Debtor for years 2011, 2012, 2013, and
       2014, except for UGHS Management Services, Inc., which filed returns for 2011, 2012,
       and 2013 but not 2014.

    3. The franchise Tax payments due May 2015 for Hospital LP have not been paid. This
       payment would cover privilege for the year of 2015. Accordingly, Hospital LP, together
       with UGHS Autimis Billing, Inc. and UGHS Autimis Coding, Inc. are not in good
       standing with the Secretary of State of the State of Texas, and the certificate of formation
       of each such Debtor was forfeited on August 1, 2014. Section 8.02(h) of the Agreement
       provides that it is a condition to Buyer’s obligation to close that Hospital LP be in good
       standing at the Closing.

    4. The proofs of claim filed by Governmental Authorities related to Taxes are incorporated
       herein.

    5. The State Comptroller completed a historical sales tax audit in January 2015 for Hospital
       LP. The State Comptroller also sent notice post-petition and completed a stub period
       audit in April 2015 that included dates up to February 27, 2015. The Comptroller has
       included all amounts due in the proofs of claim filed with the Bankruptcy Court.




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                                     SCHEDULE 3.12

                                   Affiliate Transactions

1. UGHS Management Services has accrued management fees due from ASP of Dickinson in
   the amount of $35,408 from December 31, 2014 to August 31, 2015

2. UGH LP has paid payroll and operating expenses on behalf of UGHS Management Services
   Inc. totaling $3,024,000 from December 31, 2014 through August 31, 2015. (Numerous
   transactions)

3. In January and February 2015, UGH LP paid vendors on behalf of UGHS Physician Services
   totaling $6,690

4. In February 2015, UGH LP transferred $20,000 to UGHS Practice Support for vendor
   payments

5. UGHS ER Services Inc. transfers all cash receipts to UGH LP on a weekly basis to offset the
   cost of contract ER Physician Staffing in the UGH LP Emergency Department. January 1,
   2015 to September 30, 2015 transfers total $234,707

6. UGH LP made cash transfers to UGHS Autimis Billing Inc totaling $422,781 from January
   1, 2015 to August 31, 2015 for payment of payroll and operating expense

7. Hassan Chahadeh agreed to fund the $200,000 work fee in connection with the proposed DIP
   financing with Credit Value Partners




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                                    SCHEDULE 3.14(d)

                            Licenses with State Health Agency

    1. Hospital License Number 008462 issued by the Texas Department of State Health
       Services Regulatory Licensing Unit to University General Hospital with respect to the
       Facilities

    2. Accreditation issued by The Joint Commission to University General Hospital,
       Organization ID Number 440118

    3. Certificate of Accreditation issued by the Centers for Medicare & Medicaid Services
       Clinical Laboratory Improvement Amendments issued to University General Hospital,
       CLIA ID Number 45D1055788

    4. Class C Pharmacy License No. 25155 issued by the Texas State Board of Pharmacy to
       University General Hospital

    5. Texas Controlled Substances Registration Certificate, PDS Registration Number
       F0148398, issued by the Texas Department of Public Safety, to University General
       Hospital

    6. Laboratory Accreditation issued by the College of American Pathologists to University
       General Hospital Laboratory, CAP Number 7195345

    7. Bariatric Surgery Center of Excellence Certificate issued by the American Society for
       Metabolic and Bariatric Surgery to University General Hospital

    8. Registration Certificate issues by the Executive Council of Physical Therapy and
       Occupational Therapy Examiners to C Foster & Assoc UGH Physical Therapy Pasadena,
       Registration #672570005

    9. Registration Certificate issues by the Executive Council of Physical Therapy and
       Occupational Therapy Examiners to C Foster & Assoc UGH Physical Therapy Bellaire,
       Registration #672570006

    10. Registration Certificate issues by the Executive Council of Physical Therapy and
        Occupational Therapy Examiners to C Foster & Assoc UGH Physical Therapy Seabrook,
        Registration #672570007

    11. Registration Certificate issues by the Executive Council of Physical Therapy and
        Occupational Therapy Examiners to C Foster & Assoc UGH Physical Therapy
        Friendswood, Registration #672570008

    12. City of Houston Fire Department Permit 07067285/6082325-f7 issued to University
        General Hospital for above ground storage tank at 7501 Fannin St., Houston, TX 77054



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    13. DEA registration BU9963554

    14. Certificate of X-Ray Registration, Registration Number R30080, issued by the Texas
        Department of State Health Services to University General Hospital for locations at (i)
        Site 000 at 7501 Fannin Street, Houston 77504, (ii) Site 004 at 910 North Highway 146,
        Baytown, 77521, (iii) Site 006 at 2800 Garth Road, Baytown, 77521, and (iv) Site 007 at
        7501 Fannin Street, Suite 750, Houston, 77054.

    15. Mammography Accreditation Certificate issued by the Texas Department of State Health
        Services, issued to University General Hospital, LP, for LoRad Selenia, Serial #
        28111060939




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                                SCHEDULE 3.14(e)

                        Applications and Certificates of Need

None.




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                                                 SCHEDULE 5.04

                                             Desired 365 Contracts1




1
    To be updated within seven (7) Business Days after the date of the Agreement pursuant to Section 5.04 thereof.

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                                                 SCHEDULE 5.04

                                             Desired 365 Contracts1

       1. Alvin Community College & UGH - Associate Degree & Vocational Nursing Affiliation
           Agreement
       2. American Society of Metabolic Bariatric Surgery Center Accreditation & Quality
           Improvement Program
       3. Barry University & UGH - Education Podiatric Affiliation Agreement
       4. Bell Tech Career Institute & UGH - School Affiliation Agreement
       5. Chamberlain College of Nursing & UGH - Affiliation Agreement
       6. Chamberlain College of Nursing & UGH – IEP Affiliation Agreement
       7. Chamberlain College of Nursing Clinical Affiliation Agreement
       8. College of Health Care Professions (CHCP) Affiliation Agreement
       9. Des Moines University Master Teaching Affiliation Agreement
       10. Fortis College – Surgical Technology (Affiliation Agreement)
       11. Fortis College Sterile Processing Technical (Affiliation Agreement)
       12. Gulf Coast Regional Blood Center (blood supply contract)
       13. Healthstream, Inc. Learning Service (online competency training/testing program)
       14. Houston Community College MOU (Affiliation Agreement)
       15. Houston Community College MOU – Lab Tech (Affiliation Agreement)
       16. Houston Community College MOU – Associate Degree Nursing (Affiliation Agreement)
       17. Lamar University – Port Arthur Upward Mobility Nursing Program (Affiliation
           Agreement)
       18. Marco Vargas DPM & UGH - Podiatry Residency Program Letter of Agreement
           (Affiliation Agreement)
       19. Memorial Hermann Kingwood Surgical Hospital & UGH - Podiatry Residency Program
           Affiliation Agreement
       20. Memorial Hermann Southwest & UGH - School Affiliation Agreement
       21. Meridian Institute of Surgical Assisting, Inc. & UGH - Statement of Affiliation
           Agreement
       22. New York College of Podiatric Medicine Affiliation Agreement
       23. Northwest Anesthesiology Pain Services & UGH - Anesthesia Services Agreement
       24. Pat’s Personal Pool Service (maintenance of water feature in hospital entrance)
       25. PIMA Medical Institute Radiology & UGH - Program Affiliation Agreement
       26. Pristine Hospital of Pasadena & UGH - Patient Transfer Agreement
       27. Nexus Specialty Hospital & UGH – Letter of Guarantee (Transfer Agreement)
       28. Samuel Meritt University & UGH – Podiatric Affiliation Agreement
       29. San Jacinto Community College District & UGH – Affiliation Agreement
       30. San Jacinto Community College District (North Campus) & UGH – Student Affiliation
           Agreement
       31. SETRAC – Agreement for Emergency Preparedness
       32. South Shore Surgicare and UGH – Podiatric Affiliation Agreement
       33. Temple University School of Podiatric Medicine & UGH – Affiliation Agreement
       34. Clear Lake Surgicare d/b/a Bay Shore Area Surgicare & UGH – Affiliation Agreement

1
    To be updated within seven (7) Business Days after the date of the Agreement pursuant to Section 5.04 thereof.




                                                   EXHIBIT A
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   35. UGHS Surgicare – The Woodlands & UGH – Affiliation Agreement
   36. University General Affiliation Agreement LVN Affiliation Agreement
   37. University General Affiliation Agreement LVN San Jacinto Affiliation Agreement
   38. University of Houston & UGH – Affiliation Agreement (Pharmacy)
   39. UT Health Science Center & UGH – Educational Experience Affiliation Agreement
   40. Western University of Health Sciences College of Podiatric Medicine & UGH –
       Affiliation Agreement
   41. WGU Clinical Education Agreement & UGH (Affiliation Agreement)
   42. Will School College of Podiatric Medicine & UGH – Podiatric Clinical Affiliation
       Agreement
   43. University General Surgicare (Transfer Agreement)
   44. Universal American Hospital Participation Agreement
   45. Select Specialty Hospital Houston, LP (Heights Campus) & UGH – Hospital Services
       Agreement (Transfer Agreement)
   46. Medicare Provider Agreement - Health Insurance Benefit Agreement between The
       Secretary of Health and Human Services and University General Hospital, LP, dated
       12/21/2006
   47. Joint Commission on Accreditation of Healthcare Organizations (Accreditation Contract)
   48. HHSC Medicaid Provider Agreement – Texas Medicaid Assistance Program
   49. Med One Capital Funding – Equipment Lease Agreement TR-R01042A dated 10/30/12
   50. Med One Capital Funding - Equipment Lease Agreement TR-R010419A dated 10/30/12

MEDICAL DIRECTORSHIPS:
  51. Dr. Felix Speigel – Bariatrics
  52. Dr. Felix Speigel – General Surgery
  53. Dr. Joseph Varon – Critical Care
  54. Dr. Younan Nowzardan – Vascular Surgery
  55. Dr. John Thomas – Wound Care
  56. Dr. Khoa Nguyen – Continuum of Care
  57. Dr. Paul Sykes – Podiatry
  58. Dr. Henry Small – Spine Surgery
  59. Dr. Stan Duchman – Cardiology
  60. Dr. Gerardo Bueso – Diabetic Endocrinology
  61. Dr. Gurney Pearsall – Pediatrics

LEASES
  62. Cambridge International – Hospital Lease
  63. Cambridge International – Suite 703 (Business Office)
  64. Cambridge International – Suite 750 (Bariatrics Center)
  65. Cambridge International – Sublease – Dr. Salvato

PAYOR CONTRACTS
  66. Cigna
  67. Humana
  68. Blue Cross Blue Shield
  69. Selectcare of Texas
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                                   SCHEDULE 6.04(b)

                                       ERISA Plans

    1. Health Insurance Plan through Humana
    2. Dental Insurance Plan through MetLife
    3. Vision Insurance Plan through Fidelity EyeMed




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